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                           EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION


    STUDENTS FOR FAIR ADMISSIONS, INC.,

                           Plaintiff,                             Civil Action No. __________
                   v.

    PRESIDENT AND FELLOWS OF HARVARD                              COMPLAINT
    COLLEGE (HARVARD CORPORATION); and THE
    HONORABLE AND REVEREND THE BOARD OF                           JURY TRIAL DEMANDED
    OVERSEERS,

                           Defendants.


           Plaintiff Students for Fair Admissions, Inc. brings this action to obtain, among

    other relief, a declaratory judgment under the Declaratory Judgment Act, 28 U.S.C. §

    2201, that Defendant President and Fellows of Harvard College (“Harvard Corporation”)

    and The Honorable and Reverend the Board of Overseers (“Board of Overseers” and

    together with Harvard Corporation, “Defendants” or “Harvard”) have employed and are

    employing racially and ethnically discriminatory policies and procedures in administering

    the undergraduate admissions program at Harvard College in violation of Title VI of the

    Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq. (“Title VI”).                Harvard’s

    undergraduate admissions policies and procedures have injured and continue to injure

    Plaintiff’s members by intentionally and improperly discriminating against them on the

    basis of their race and ethnicity in violation of Title VI.

    I.     INTRODUCTION

           1.      This is an action brought under Title VI of the Civil Rights Act of 1964 to

    prohibit Harvard from engaging in intentional discrimination on the basis of race and

    ethnicity. “Classifications of citizens solely on the basis of race are by their very nature
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    odious to a free people whose institutions are founded upon the doctrine of equality.

    They threaten to stigmatize individuals by reason of their membership in a racial group

    and to incite racial hostility.” Shaw v. Reno, 509 U.S. 630, 643 (1993) (citations and

    quotations omitted). As a consequence, racial classifications are highly disfavored and

    have been permitted only when there is a compelling government interest that cannot be

    met through race-neutral means.      In the educational setting, “diversity” is the only

    interest the Supreme Court has found compelling. Even then, the Supreme Court has

    mandated strict judicial scrutiny to ensure that an academic institution is actually

    pursuing that interest and that it is absolutely necessary to employ racial preferences in

    order to achieve a diverse student body.

           2.      Yet the Supreme Court has always had misgivings about its decision to

    permit any use of racial preferences in university admissions. See City of Richmond v.

    J.A. Croson Co., 488 U.S. 469, 518 (1989) (Kennedy, J., concurring in part and

    concurring in the judgment). The Supreme Court was nevertheless convinced to permit

    racial preferences in pursuit of diversity for two reasons. First, based mainly on an

    amicus brief that Harvard submitted, the Supreme Court was led to believe that schools

    only would “take account of race as one, nonpredominant factor in a system designed to

    consider each applicant as an individual.” Grutter v. Bollinger, 539 U.S. 306, 387 (2003)

    (Kennedy, J., dissenting) (citing Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 289-91

    (1978)). Second, the Supreme Court believed that the “strict scrutiny standard [would]

    operate in a manner generally consistent with the imperative of race neutrality, because it

    forbids the use even of narrowly drawn racial classifications except as a last resort.”




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    Croson, 488 U.S. at 519 (Kennedy, J., concurring in part and concurring in the

    judgment).

           3.      The Supreme Court was misled. The admissions plan Harvard advocated

    for in Bakke (the “Harvard Plan”) that promised to treat each applicant as an individual

    has always been an elaborate mechanism for hiding Harvard’s systematic campaign of

    racial and ethnic discrimination against certain disfavored classes of applicants. Indeed,

    the Harvard Plan was created for the specific purpose of discriminating against Jewish

    applicants. Put simply, Bakke “legitimated an admissions process that is inherently

    capable of gross abuse and that … has in fact been deliberately manipulated for the

    specific purpose of perpetuating religious and ethnic discrimination in college

    admissions.” Alan Dershowitz and Laura Hanft, Affirmative Action and the Harvard

    College Diversity-Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 385

    (1979). Today it is used to hide intentional discrimination against Asian Americans.

    Harvard is using the same “holistic” code words to discriminate for the same invidious

    reasons and it is relying on the same pretextual excuses to justify its disparate treatment

    of another high-achieving racial and ethnic minority group.

           4.      In any event, even if the Harvard Plan at some point outgrew its

    discriminatory roots, Harvard has long since abandoned an admissions policy that

    purported to merely use race contextually to fill the last few seats in the entering

    freshman class. Harvard now labels every applicant by race on the claim that it is

    pursuing the so-called “critical mass” diversity objective. That creates two problems for

    Harvard. First, as it has abandoned the very “plan” that led the Supreme Court to permit

    the use of racial admissions preferences, Harvard has deprived the Court of any




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    continuing “authority to approve the use of race in pursuit of student diversity.” Grutter,

    539 U.S. at 394 (Kennedy, J., dissenting). Second, Harvard’s new diversity interest—

    critical mass—should never have been endorsed and should be outlawed once and for all.

    “[T]he concept of critical mass is a delusion used … to mask [an] attempt to make race

    an automatic factor in most instances and to achieve numerical goals indistinguishable

    from quotas.” Id. at 389.

           5.      Worse still, Harvard is not even pursuing its claimed “critical mass”

    interest. Rather, even under governing Supreme Court precedent, Harvard is violating

    Title VI for at least four reasons. First, Harvard is using racial classifications to engage

    in the same brand of invidious discrimination against Asian Americans that it formerly

    used to limit the number of Jewish students in its student body. Statistical evidence

    reveals that Harvard uses “holistic” admissions to disguise the fact that it holds Asian

    Americans to a far higher standard than other students and essentially forces them to

    compete against each other for admission. There is nothing high-minded about this

    campaign of invidious discrimination. It is “illegitimate racial prejudice or stereotype.”

    Croson, 488 U.S. at 493.

           6.      Second, Harvard is engaging in racial balancing.         Over an extended

    period, Harvard’s admission and enrollment figures for each racial category have shown

    almost no change. Each year, Harvard admits and enrolls essentially the same percentage

    of African Americans, Hispanics, whites, and Asian Americans even though the

    application rates and qualifications for each racial group have undergone significant

    changes over time. This is not the coincidental byproduct of an admissions system that

    treats each applicant as an individual; indeed, the statistical evidence shows that Harvard




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    modulates its racial admissions preference whenever there is an unanticipated change in

    the yield rate of a particular racial group in the prior year. Harvard’s remarkably stable

    admissions and enrollment figures over time are the deliberate result of systemwide

    intentional racial discrimination designed to achieve a predetermined racial balance of its

    student body.

           7.       Third, Harvard is failing to use race merely as a “plus factor” in

    admissions decisions.     Rather, Harvard’s racial preference for each student (which

    equates to a penalty imposed upon Asian-American applicants) is so large that race

    becomes the “defining feature of his or her application.” Grutter, 539 U.S. at 337. Only

    using race or ethnicity as a dominant factor in admissions decisions could, for example,

    account for the remarkably low admission rate for high-achieving Asian-American

    applicants. Harvard’s admissions decisions simply are not explainable on grounds other

    than race. High-achieving Asian-American applicants are as broadly diverse and eclectic

    in their abilities and interests as any other group seeking admission to Harvard. They

    compete in interscholastic sports, are members of the school band, work part-time jobs

    after school, travel, and engage in volunteer work just like everyone else. It is not a lack

    of non-academic achievement that is keeping them from securing admission.              It is

    Harvard’s dominant use of racial preferences to their detriment.

           8.       Fourth, and last, Harvard is using race in admissions decisions when race-

    neutral alternatives can achieve diversity.      As other elite universities have shown,

    increased utilization of non-race-based criteria, such as socioeconomic preferences, can

    promote diversity about as well as racial preferences. This approach is particularly

    effective when combined with increased use of financial aid, scholarships, and




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    recruitment to attract and enroll minority applicants and the elimination of admissions

    policies and practices, such as legacy preferences and early admission, which operate to

    the disadvantage of minority applicants.         Further, eliminating racial preferences at

    Harvard will alleviate the substantial harm these discriminatory policies cause to those

    minority applicants who receive such admissions preferences, the Harvard community,

    and society as a whole. Racial preferences are a dangerous tool and may only be used as

    a last resort. There is now overwhelming evidence that race-neutral alternatives render

    reliance on racial preferences unnecessary. It is incumbent on Harvard to take full

    advantage of these preferred alternatives.

           9.      Accordingly, there is no doubt that Harvard is in violation of Title VI.

    The only question is the proper judicial response. Given what is occurring at Harvard

    and at other schools, the proper response is the outright prohibition of racial preferences

    in university admissions—period. Allowing this issue to be litigated in case after case

    will only “perpetuate the hostilities that proper consideration of race is designed to

    avoid.” Grutter, 539 U.S. at 394 (Kennedy, J., dissenting). Harvard and other academic

    institutions cannot and should not be trusted with the awesome and historically dangerous

    tool of racial classification. As in the past, they will use any leeway the Supreme Court

    grants them to use racial preferences in college admissions—under whatever rubric—to

    engage in racial stereotyping, discrimination against disfavored minorities, and quota-

    setting to advance their social-engineering agenda. Strict scrutiny has proven to be no

    match for concerted discrimination hidden behind the veil of “holistic” admissions.

    There may be times when social problems can be solved democratically. But massive

    resistance to racial equality is not one of them. See Brown v. Bd. of Educ. of Topeka,




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    Kan., 349 U.S. 294 (1955). “The moral imperative of racial neutrality is the driving force

    of the Equal Protection Clause …. Structural protections may be necessities if moral

    imperatives are to be obeyed.” Croson, 488 U.S. at 518 (Kennedy, J., concurring in part

    and concurring in the judgment).

    II.    JURISDICTION AND VENUE

           10.     This action arises under 42 U.S.C. § 2000d et seq. This Court has subject

    matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

           11.     Venue is proper in the District of Massachusetts under 28 U.S.C. § 1391

    because the events giving rise to the claims detailed herein occurred in the District of

    Massachusetts.

    III.   THE PARTIES

           A.      Plaintiff

           12.     Plaintiff, Students for Fair Admissions, Inc. (“SFFA”) is an Internal

    Revenue Code Section 501(c)(3) organization formed for the purpose of defending

    human and civil rights secured by law, including the right of individuals to equal

    protection under the law, through litigation and any other lawful means.            More

    specifically, SFFA seeks to promote and protect the right of the public to be free from

    discrimination on the basis of race in higher education admissions.

           13.     SFFA is a coalition of prospective applicants and applicants to higher

    education institutions who were denied admission to higher education institutions, their

    parents, and other individuals who support the organization’s purpose and mission of

    eliminating racial discrimination in higher education admissions. SFFA has members

    throughout the country.




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           14.     Edward Blum is the President of SFFA. See Exhibit A, Declaration of

    Edward Blum (“Blum Dec.”) ¶ 2.

           15.     SFFA has at least one member (“Applicant”) who applied for and was

    denied admission to Harvard’s 2014 entering class. Blum Dec. ¶ 4.

           16.     Applicant is Asian American. Blum Dec. ¶ 5.

           17.     Applicant’s parents are first-generation immigrants to the United States

    from China. Blum Dec. ¶ 6.

           18.     Applicant graduated from high school ranked 1 out of 460 students by

    weighted and un-weighted grade point average. Blum Dec. ¶ 7.

           19.     U.S. News and World Report ranks Applicant’s high school in the top 5

    percent of all high schools in the United States. Blum Dec. ¶ 8.

           20.     Applicant achieved a perfect score of 36 on the ACT. Applicant achieved

    a perfect score of 800 for SAT II History and a perfect score of 800 for SAT II Math.

    Among other academic achievements, Applicant was named an AP Scholar with

    distinction, a National Scholar, and a National Merit Scholarship semifinalist. Blum Dec.

    ¶¶ 9-10.

           21.     While in high school, Applicant participated in numerous extracurricular

    and volunteer activities. Among other things, Applicant was captain of the varsity tennis

    team, volunteered at a community tennis camp, volunteered for the high school’s student

    peer tutoring program, was a volunteer fundraiser for National Public Radio, and traveled

    to China as part of a program organized by the United States Consulate General and

    Chinese American Students Education and Exchange to assist students in learning

    English writing and presentation skills. Blum Dec. ¶ 11.




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            22.     Applicant was denied the opportunity to compete for admission to Harvard

     on equal footing with other applicants on the basis of race or ethnicity due to Harvard’s

     discriminatory admissions policies. Blum Dec. ¶ 12.

            23.     Applicant was accepted to and has enrolled at a university that is ranked in

     the Top 20 in the nation by U.S. News and World Report. That university does not grant

     an admissions preference on the basis of race or ethnicity. Blum Dec. ¶ 13.

            24.     Applicant is ready, able, and intends to seek to transfer to Harvard when it

     ceases the use of race or ethnicity as an admissions preference and ceases its intentional

     discrimination against Asian Americans. Blum Dec. ¶ 14.

            25.     SFFA has members who are currently in high school and intend to apply

     for admission to Harvard (“Future Applicants”). Some of these Future Applicants are

     Asian American. Blum Dec. ¶ 15.

            26.     Future Applicants will be denied the opportunity to compete for admission

     to Harvard on equal footing with other applicants on the basis of race or ethnicity due to

     Harvard’s discriminatory admissions policies. As a result, Future Applicants may be

     denied admission to Harvard because of these discriminatory policies. Blum Dec. ¶ 16.

            27.     SFFA has members whose children intend to apply for admission to

     Harvard (“Parents”). Some of these Parents are Asian Americans. Blum Dec. ¶ 17.

            28.     Parents’ children will be denied the opportunity to compete for admission

     to Harvard on equal footing with other applicants on the basis of race or ethnicity due to

     Harvard’s discriminatory admissions policies. As a result, Parents’ children may be

     denied admission to Harvard because of these discriminatory policies. Blum Dec. ¶ 18.




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             B.     Defendants

             29.    Defendants, the Harvard Corporation and Harvard Board of Overseers

     govern Harvard University.

             30.    Harvard University is a private educational institution based in

     Cambridge, Massachusetts.

             31.    Harvard College is a component of Harvard University that offers

     undergraduate, graduate, professional, and research programs in the fields of arts,

     science, medicine, business, design, and public health.

             32.    Despite having an endowment of approximately $36.4 billion, Harvard

     accepts substantial direct financial assistance from the Federal government through,

     among other things, grants and loans. In 2010, Harvard accepted more than $6.6 million

     in federal funds. In 2011, Harvard accepted more than $11.9 million in federal funds. In

     2012, Harvard accepted more than $20.9 million in federal funds. In 2013, Harvard

     accepted more than $13.4 million in federal funds. Harvard also has received and will

     further receive substantial direct financial assistance from the Federal government in

     2014.

             33.    Harvard also accepts substantial indirect Federal financial assistance by,

     among other things, enrolling students who pay, in part, with Federal financial aid

     directly distributed to those students.

             34.    As a recipient of Federal financial assistance, Harvard University, and all

     of its programs and activities, which includes Harvard College, are subject to Title VI of

     the Civil Rights Act of 1964, 42 U.S.C. § 2000d et. seq.




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     IV.       HARVARD    HAS  A   LONG   HISTORY   OF INTENTIONAL
               DISCRIMINATION ON THE BASIS OF RACE OR ETHNICITY
               AGAINST DISFAVORED MINORITY APPLICANTS.

               35.   Discrimination on the basis of race or ethnicity is longstanding at Harvard.

     The “Harvard Plan” itself—and the concept of an admissions system based on a

     “holistic” review of applicants instead of admission based on academic qualifications—

     was formulated for the specific purpose of discriminating against disfavored minority

     groups. “Indeed, the historical evidence points inexorably to the conclusion that the

     current Harvard College admissions system was born out of one of the most shameful

     episodes in the history of American higher education in general, and of Harvard college

     in particular.” Alan Dershowitz and Laura Hanft, Affirmative Action and the Harvard

     College Diversity-Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 385

     (1979).

               A.    1900s to 1920s: Before “Selective Admissions”

               36.   Until the early 1920s, Harvard, like all other Ivy League schools, selected

     its students by admitting applicants who passed a required examination.

               37.   Because Harvard’s entrance examination was not especially demanding,

     an applicant for undergraduate admission with average intelligence from a prominent

     school could usually pass with ease.

               38.   Though the performance of some students placed them in a gray zone

     from which they could be admitted “with conditions,” most applicants were admitted

     based solely on objective academic criteria.

               39.   Under this system, the number of students entering Harvard fluctuated,

     sometimes quite widely, from year to year.




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            40.     Harvard’s student body during this time period was fairly homogenous in

     terms of class, race, religion, and ethnicity.     Students during this time period were

     overwhelmingly from affluent backgrounds, almost exclusively white, and composed

     largely of graduates of elite private secondary schools.

            41.     Harvard was considered somewhat open to African Americans,

     immigrants, and foreigners, though the numerical presence of each of these groups of

     students on campus was relatively small.

            B.      1920s to 1930s: Harvard’s “Jewish Problem”

            42.     Ivy League schools began to reevaluate their admissions systems when

     students deemed socially “undesirable”—most prominently, Jewish applicants—started

     to pass the examinations and enroll in greatly increasing numbers.

            43.     In or around the late 1910s, the number of Jewish students enrolling at

     Harvard began to increase, and Harvard administrator determined that the college had a

     “Jewish problem” that it needed to address.

            44.     By 1918, Harvard’s freshman class was 20 percent Jewish, three times the

     percentage at Yale and six times that at Princeton.

            45.     The President of Harvard, A. Lawrence Lowell, was deeply troubled by

     this rising Jewish population.

            46.     President Lowell feared that the enrollment of too many Jewish students

     would cause students from Protestant upper and upper-middle class families to choose

     other elite colleges over Harvard.




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            47.     In 1920, in a letter to William Hocking, a Harvard philosophy professor,

     President Lowell wrote that the increasing number of Jewish students enrolling at

     Harvard would ultimately “ruin the college.”

            48.     To combat this “Jewish problem,” President Lowell sought to institute a

     cap on Jewish enrollment in each entering class.

            49.     In his letter to Hocking, President Lowell stated that the best approach

     would be “to state frankly that we thought we could do the most good by not admitting

     more than a certain proportion of men in a group that did not intermingle with the rest,

     and give our reasons for it to the public.” According to Lowell, “[e]xperience seems to

     place that proportion at about 15%.”

            50.     Yet President Lowell knew that such overt discrimination would meet

     resistance. He believed that the faculty, and probably the governing boards, would prefer

     to make a rule whose motive was less obvious on its face, such as giving to the

     Committee on Admission authority to refuse admittance to persons who possessed

     particular qualities believed to be characteristic of Jewish applicants.

            51.     If such a system was instituted, however, President Lowell wished to

     ensure that the faculty knew “perfectly well what they are doing, and that any vote passed

     with the intent of limiting the number of Jews should not be supposed by anyone to be

     passed as a measurement of character really applicable to Jews and Gentiles alike.”

            52.     By the spring of 1922, the proportion of Jewish students had reached 21.5

     percent. President Lowell warned that unless immediate measures were taken “the danger

     would seem to be imminent.”




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             53.     President Lowell made clear that absent the rise in Jewish enrollment, no

     change in Harvard’s admissions policies would be needed. The problem was not with the

     academic method of selection per se, but with its results: it was now yielding too many

     Jewish students at Harvard.

             54.     In a 1922 letter President Lowell wrote: “We can reduce the number of

     Jews by talking about other qualifications than those of admission examinations. If the

     object is simply to diminish the Jews, this is merely an indirect method of avoiding a

     problem in American life which is really important. This is the feeling of the most

     thoughtful people here, both gentile and Jew. On the other hand, we are in no present

     danger of having more students in college than we can well take care of; nor, apart from

     the Jews, is there any real problem of selection, the present method of examination giving

     us, for the Gentile, a satisfactory result.”

             55.     In May 1922, Professor Ropes proposed that the Committee on Admission

     “take into account the proportionate size of racial and national groups in the membership

     of Harvard College,” declaring that “it is not desirable that the number of students in any

     group which is not easily assimilated into the common life of the College should exceed

     15 percent of the whole college.”

             56.     As one Harvard alumnus noted, “I am fully prepared to accept the

     judgment of the Harvard authorities that a concentration of Jews in excess of fifteen

     percent will produce a segregation of culture rather than a fusion.”

             57.     President Lowell’s plans received pushback. One petition, signed by 31

     faculty members, described the “action of the Faculty relating to controlling the

     percentage of the Jews in Harvard College” as “a radical departure from the spirit and




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     practice of the College” and declared “that racial consideration should not influence the

     Committee on Admission before a careful and deliberate study of the whole question of

     the Jews shall be made by the Faculty.”

            58.     At the same time, Harvard was beginning to gather the information that

     would permit it to identify which applicants were Jewish.

            59.     Starting in the fall of 1922, applicants were required to answer questions

     on “Race and Color,” “Religious Preference,” “Maiden Name of Mother,” and

     “Birthplace of Father,” as well as the question, “What change, if any, has been made

     since birth in your own name or that of your father? (Explain fully.)”

            60.     In addition, Harvard asked high school principals and private school

     headmasters to fill out a form indicating “by a check [the applicant’s] religious

     preference so far as known . . . Protestant . . . Roman Catholic . . . Hebrew . . .

     Unknown.”

            61.     Harvard also created a committee tasked with counting the number of

     Jewish students at Harvard.

            62.     After analyzing all the student information it could obtain, the committee

     began classifying each Harvard student into one of four categories: “J1,” “J2,” “J3,” and

     “other.” A “J1” was assigned “when the evidence pointed conclusively to the fact that

     the student was Jewish;” a “J2” was assigned when a “preponderance of evidence”

     suggested the student was Jewish; and a “J3” was assigned when “the evidence suggested

     the possibility that the student might be Jewish.”

            63.     During this time period, Harvard also adopted a “one-seventh plan,” which

     purported to target “a new group of men from the West and South” who were in the top




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     seventh of their graduating class. In reality, however, it was a “thinly disguised attempt

     to lower the Jewish proportion of the student body by bringing in boys—some of them

     academically ill equipped for Harvard—from regions of the country where there were

     few Jews.”

            64.     After President Lowell’s intentions of imposing a Jewish cap became

     known to the public, opponents began mobilizing opposition.

            65.     In 1923, Harvard’s Committee on Methods of Sifting Candidates for

     Admission defeated President Lowell’s requests for a cap on Jewish enrollment. In doing

     so, the committee issued a statement indicating its opposition to “an arbitrary limitation

     of the number of students to be admitted” and specifying that “if the size of our Freshman

     class is to be reduced, the reduction can best be accomplished by raising the standard for

     admission.”

            66.     Despite this defeat, President Lowell pressed forward. In June 1923, he

     commissioned a study to determine “whether it might be wise to limit the number of

     students admitted to the Freshman class to one thousand.”

            67.     President Lowell realized that a ceiling on the size of the class was the

     necessary precondition for addressing the “Jewish problem,” for as long as Harvard had

     an absolute standard of admission, discretionary selection policy using nonacademic as

     well as academic criteria would not be possible.

            68.     Lowell’s proposal “signaled the beginning of a new, more subtle

     campaign to restrict Jewish enrollment.”

            69.     By the end of 1923, President Lowell’s committee issued a report

     recommending a limit of 1,000 on the size of the freshman class and additional changes




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     in the criteria for admission.      Instead of making decisions based on academic

     achievement, the committee proposed using letters from teachers and personal interviews

     to shed light on the candidates’ “aptitude and character.” However, no changes were

     made in 1923.

            70.      By 1924, Harvard’s Jewish enrollment had risen to 25 percent.

            71.      According to President Lowell, Harvard’s “reputation of having so many

     Jews” was hurting its ability to “attract applicants from western cities and the great

     preparatory schools.”

            72.      By 1925, the dean’s office reported that the proportion of known Jewish

     freshmen (the J1s and J2s) had risen to 27.6 percent, with an additional 3.6 percent in the

     J3 category.

            73.      As President Lowell was contemplating these figures, he was receiving

     letters from alumni castigating the school for being overrun by Jewish students. Among

     these letters was one from W.F. Williams ’01, who had attended a recent Harvard-Yale

     football game. Williams recommended using the school’s admissions program to

     discretely limit the number of Jewish students enrolling at Harvard: “Naturally, after

     twenty-five years, one expects to find many changes but to find that one’s University had

     become so Hebrewized was a fearful shock. There were Jews to the right of me, Jews to

     the left of me, in fact they were so obviously everywhere that instead of leaving the Yard

     with pleasant memories of the past I left with a feeling of utter disgust of the present and

     grave doubts about the future of my Alma Mater . . . . The Jew is undoubtedly of high

     mental order, desires the best education he can get CHEAPEST, and is more persistent

     than other races in his endeavors to get what he wants. It is self evident, therefore, that




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     by raising the standard of marks he can’t be eliminated from Harvard, whereas by the

     same process of raising the standard ‘White’ boys ARE eliminated. And is this to go on?

     Why the Psychology Test if not to bar those not wanted? Are the Overseers so lacking in

     genius that they can’t devise a way to bring Harvard back to the position it always held as

     a ‘white man’s’ college?”

            74.     President Lowell agreed with Williams’ assessment, responding that he

     “had foreseen the peril of having too large of a number of an alien race and had tried to

     prevent it,” but that “not one of the alumni ventured to defend the policy publicly.”

     President Lowell was “glad to see from your letter, as I have from many other signs, that

     the alumni are beginning to appreciate that I was not wholly wrong three years ago in

     trying to limit the proportion of Jews.”

            75.     Despite increasing alumni approval, President Lowell still faced

     significant obstacles to his plan.    He needed Harvard’s “Special Committee on the

     Limitation of the Size of the Freshman Class” to approve his new admissions plan.

            76.     In a letter to the chairman of the committee, President Lowell wrote that

     “questions of race,” though “delicate and disagreeable,” were not solved by ignoring

     them. The solution was a new admissions system giving the school wide discretion to

     limit the admission of Jewish applicants: “To prevent a dangerous increase in the

     proportion of Jews, I know at present only one way which is at the same time

     straightforward and effective, and that is a selection by a personal estimate of character

     on the part of the Admissions authorities, based upon the probable value to the candidate,

     to the college and to the community of his admission. Now a selection of this kind can

     be carried out only in case the numbers are limited. If there is no limit, it is impossible to




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     reject a candidate who passes the admissions examinations without proof of defective

     character, which practically cannot be obtained. The only way to make a selection is to

     limit the numbers, accepting those who appear to be the best.”

            77.     Anticipating pushback, President Lowell insisted that he was not

     proposing to discriminate against Jewish applicants. Instead, he sought “discrimination

     among individuals in accordance with the probable value of a college education to

     themselves, to the University, and the community,” carefully adding that “a very large

     proportion of the less desirable, upon this basis, are at the present time the Jews.”

            78.     The    committee’s     chairman    was    initially   opposed,   stating   that

     “[e]verything in my education and bringing up makes me shrink from a proposal to begin

     a racial discrimination at Harvard—there’s no use my pretending this isn’t the case.”

            79.     In the end, however, the chairman agreed with President Lowell’s notion

     of “a sound and discerning ‘discrimination’ among individuals” and expressed

     confidence that “such a discrimination would inevitably eliminate most of the Jewish

     element which is making trouble.”

            80.     Nevertheless, the chairman refused to endorse “a candid regulation

     excluding all but so many or such a proportion of ‘Jews.’” Instead, he advised President

     Lowell that more subtle measures to exclude Jewish applicants would be a wiser

     approach.

            81.     In its report, the Committee made multiple recommendations along these

     lines. First, the committee recommended that Harvard limit its incoming class to just

     1,000 students. Second, it recommended that “the application of the rule concerning

     candidates from the first seventh of their school be discretionary with the Committee on




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     Admission.”    This modification would allow the committee to eliminate from the

     program high schools that sent too many Jewish students to Harvard.

            82.     Finally, and most important, the committee rejected an admissions policy

     that would select the 1,000 students on the basis of scholarship alone. According to the

     committee, it was “neither feasible nor desirable to raise the standards of the College so

     high that none but brilliant scholars can enter” and “the standards ought never to be too

     high for serious and ambitious students of average intelligence.”

            83.     Not only did the faculty adopt these proposals, but it also approved

     measures making the admissions process even more subjective.

            84.     In particular, the faculty called on the admissions committee to interview

     as many applicants as possible to gather additional information on “character and fitness

     and the promise of the greatest usefulness in the future as a result of a Harvard

     education.”

            85.     In addition, Harvard began requiring a passport-sized photo “as an

     essential part of the application for admissions.”

            86.     Harvard also began using “legacy” preferences for the children of alumni

     as a strategy for reducing the admission of Jewish students.

            87.     President Lowell was elated by these changes, realizing that they

     “provided a tremendous opportunity to impose, at long last, the policy of restriction he

     had favored since 1922.”

            88.     The reduction in Jewish enrollment at Harvard was immediate.           The

     Jewish portion of Harvard’s entering class dropped from over 27 percent in 1925 to 15

     percent the following year.




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            89.     For the next 20 years, this percentage (15 percent) remained virtually

     unchanged.

            90.     Harvard’s new system of selection was far more complicated than the

     exam-based system that had preceded it, and implementing it required a new bureaucratic

     apparatus of information gathering and assessment.

            91.     In addition to expanding its administrative staffing apparatus, the new

     Office of Admissions needed to collect vast quantities of data formerly unnecessary.

            92.     The development of a procedure for identifying Jewish applicants was

     only the first step.   For the first time, candidates were asked to fill out lengthy

     applications that included demographic information, a personal essay, and a detailed

     description of extracurricular activities that might demonstrate “leadership” and reveal

     something about their “character.”

            93.     The centerpiece of the new system was the personal letter of

     recommendation, especially those from trusted sources such as alumni and headmasters

     or teachers from the leading feeder schools.

            94.     Finally, to ensure that “undesirables” were identified and to assess

     important but subtle indicators of background and breeding such as speech, dress,

     deportment, and physical appearance, a personal interview was required, a final screening

     device usually conducted by the Director of Admissions or a trusted alumnus.

            95.     The new policy permitted the rejection of scholastically brilliant students

     considered “undesirable,” and it granted the director of admissions broad latitude to

     admit those of good background with weaker academic records.




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            96.     The key code word used was “character”—a quality thought to be

     frequently lacking among Jewish applicants, but present congenitally among affluent

     Protestants.

            97.     By emphasizing the inherently subjective character of admissions

     decisions, Harvard’s new system of selection left it free to adapt to changing

     circumstances by admitting—and rejecting—whomever it wished.

            98.     These tools gave admissions officials the power to discriminate, ostensibly

     on the basis of “objective” evidence. Any number of reasons could be invoked to deny

     an applicant. “Selective admissions deflected much criticism precisely because it singled

     out no single status as ‘key.’”

            99.     As a consequence, university leaders could deny the existence of any

     racial or religious quotas, while still managing to reduce Jewish enrollment to a much

     lower level, and thereafter hold it essentially constant during the decades that followed.

            C.      1930s to 1960s: A Continuation of Policies

            100.    In the 1930s, Harvard continued the discriminatory admissions policies

     instituted during the previous decade.

            101.    Instrumental during this time period was Richard Gummere, who served

     as Harvard’s Chairman of the Committee on Admission from 1934 to 1952.

            102.    Gummere continued to use Harvard’s opaque admissions system to limit

     the number of Jewish students enrolling at Harvard.

            103.    The key was secrecy. In 1922, when he was headmaster of William Penn

     Charter School in Philadelphia, Gummere had recommend that Harvard follow the

     approach he had employed at his own school: “I feel that Doctor Edsall [a Harvard




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     faculty member] has stated the case very correctly and intelligently, as far as the

     experiences of the Penn Charter School in the Jew problem are concerned. Such action

     was taken very definitely, and a very limited number of Jews is admitted; in fact, it is at

     present almost infinitesimal. We are particularly careful not to make any issue of the

     matter, and when people of that persuasion wish to be admitted, and we either have

     enough in the school, or do not feel that the applicant is satisfactory, we employ the same

     methods of keeping them out of the school as we would any unsatisfactory candidate of

     any denomination. As a matter of fact, I admitted only one Jew last fall, and plan to

     admit none this coming fall.”

            104.    Gummere continued the policies of the prior decade laid down by

     President Lowell, including the establishment of a fixed number of places in the freshman

     class and a clear statement to both applicants and the public that candidates would not be

     accepted on academic ability alone.

            105.    Instead, a multiplicity of nonacademic criteria—alumni connections,

     athletic talent, geographical diversity, and vague qualities such as “character” and

     “leadership”—played a pivotal role in determining admission.

            106.    Similarly, Gummere reported that “increased emphasis is being put on the

     preliminary interviews.” Rather than subjecting undesirable applicants, many of them

     Jewish, to a formal rejection, the committee preferred to discourage them—politely but

     firmly—from submitting a final application.

            107.    For example, in 1936, Irving B. Rosenstein, a Jewish alumnus who had

     graduated first in his class at Harvard, contacted Dean Hanford about two young Jewish

     men who were applying for admission. Hanford took notes during his conversation but




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     did not pass on an endorsement. Instead, he wrote directly to Gummere, stating that “I do

     not know either Goldberg or Rabinowitz, and I realize that we have quite enough

     applicants of this type.” Nevertheless, Hanford continued, “I felt it my duty to pass along

     the information that Rosenstein had given me regarding the two boys.”

            108.    In another case, Jerome Greene, secretary to the Harvard Corporation,

     explained why a young Jewish man named S. A. Goldstein, who reportedly had high

     marks on his College Board exams, had been turned down. Mr. Goldstein “came just

     under the ‘weighted average,’ which takes all pertinent factors into account.” Harvard,

     he declared, had “no reason to suppose that he is not a creditable representative of his

     race, many members of which are admitted to Harvard each year.” He closed his letter

     by assuring that “no personal discrimination against him was involved.”

            109.    During this time period, Harvard continued to accept mainly wealthy,

     Protestant applicants who could pay the tuition and meet minimal standards. Harvard

     filled approximately 75 to 80 percent of the seats with individuals who could afford to

     pay the full tuition, and fewer than 13 percent of legacy applicants were rejected.

            110.    In the late 1940s and early 1950s, following World War II, American

     public sentiment turned against anti-Semitism, and Harvard began to gradually reduce its

     discrimination against Jewish applicants.

            111.    Harvard, however, retained the admissions policies that it had used to

     successfully cap Jewish enrollments in the past.

            112.    In a 1952 report from the Harvard Committee on Admissions, the Dean of

     Admissions wrote that Harvard was “one of the few colleges with ‘snob’ appeal.”

     Accordingly, it attracted the children of the “upper-upper” class throughout the country




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     who were “almost entirely paying guests.” It was possible, he acknowledged, that “a

     third or half of this group, strictly on their merits in terms of SAT scores, character and

     personality, was not particularly desirable.” But if Harvard rejected them, it “would lose

     most of the rest of the group, including a lot of able and desirable students.”

             113.    Similarly, allegations that Harvard was “dominated by Jews” could cause

     “students from upper-income, business backgrounds” to abandon Harvard for “colleges

     like Yale, Princeton, Dartmouth, Williams, etc.”

             114.    By the 1960s, Harvard was using a complex “docket system” of

     classifications to process each candidate.

             115.    The docket system created 22 groups, ranging from the huge (Docket B,

     which covered eight Rocky Mountain states) to the very small (Docket P, limited to

     Boston Latin, and Docket Q, which covered the rest of metropolitan Boston).

             116.    The docket system generated “targets” for each docket that proved

     strikingly close to the actual number of students admitted each year. Each docket was

     admitted at a different rate.

             117.    For example, Docket D (covering the upper Midwest) had about a 25

     percent acceptance rate. By contrast, Docket M (“Select New England private schools”)

     and Docket L (“Exeter and Andover”) were admitted at a rate of 44 and 46 percent

     respectively, compared to just 20 percent for all applicants.

             118.    The structure of this system ensured that competition would be almost

     entirely within rather than between dockets.

             119.    The generous targets for some dockets were designed to insulate

     applicants from competition with other dockets while the restrained targets for others




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     were intended to guarantee that the number of students admitted would not upset

     Harvard’s delicate “balance.”

            120.     At this time Harvard also used a second system of classification to rate

     each applicant individually along four dimensions: personal, academic, extracurricular,

     and athletic.

            121.     The “personal” rating was critical. According to Harvard’s own statistical

     studies, the personal rating was a stronger predictor of which candidates would ultimately

     be admitted than the more objective academic rating.             A “4” rating (“generally

     acceptable”) was all but fatal, with a rejection rate of 98 percent; a “1” was a virtual

     guarantee of admission, with a rejection rate of just 2.5 percent.

            122.     Finally, at this time Harvard used a third major scheme to divide

     applicants into 12 categories. This “typology,” as Harvard called it, was an integral part

     of each student’s file. Each candidate was assigned a code letter that was shorthand for

     the social type he was thought to embody.

            123.     Under this typology, every candidate was placed in one of the following

     categories:




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         1          S    First-rate scholar in Harvard departmental terms.

                         Candidate’s primary strength is his academic strength, but it
         2          D
                         doesn’t look strong enough to qualify as an S (above).

                         All-American – healthy, uncomplicated athletic strengths and style,
         3          A    perhaps some extracurricular participation, but not combined with
                         top academic credentials.

                         Mr. School – significant extracurricular and perhaps (but not
         4          W
                         necessarily) athletic participation plus excellent academic record.

                         Cross-country style – steady man who plugs and plugs and plugs,
         5          X    won’t quit when most others would. Gets results largely through
                         stamina and consistent effort.

                         PBH [Phillips Brooks House] style: in activities and personal
         6          P
                         concerns.

         7          C    Creative in music, art, writing.

         8          B    Boondocker – unsophisticated rural background.

         9          T    Taconic – culturally depressed background, low income.

        10          K    Krunch – main strength is athletic, prospective varsity athlete.

                         Lineage – candidate probably couldn’t be admitted without the
        11          L    extra plus of being a Harvard son, a faculty son, or a local boy with
                         ties to the university community.

        12          O    Other – use when none of the above are applicable.


             124.   With only minor modifications, Harvard used this typology through at

     least 1988, which includes the period when Harvard submitted its description of the

     “Harvard Plan” to the Supreme Court in its Bakke amicus brief.




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     V.     HARVARD HAS USED AND CONTINUES TO USE AN APPLICANT’S
            RACE AND ETHNCITY AS A FACTOR IN ADMISSION DECISIONS.

            125.    Harvard has long expressly considered the race and ethnicity of applicants

     in making admissions decisions in ways that go far beyond its systematic discrimination

     against Jewish applicants.

            126.    In 1926, Harvard’s Chairman of Admissions, Henry Pennypacker,

     described how race would be considered under Harvard’s new subjective admissions

     policies: “Race is a part of the record. It is by no means the whole record and no man

     will be kept out on grounds of race; but those racial characteristics which make for race

     isolation will, if they are borne by the individual, be taken into consideration as a part of

     that individual’s characteristics under the test of character, personality and promise. That

     if there should result in fact any substantial change in the proportion of groups in the

     College following application of the test, this will be due, not to race discrimination or

     any quota system, but to the failure of particular individuals to possess as individuals

     those evidences of character, personality and promise which weighed with other

     evidences render them more fit than other individuals to receive all that Harvard has to

     offer. Of course there will be criticisms. It will be said that Harvard is discriminating on

     grounds of race. That will not be true.”

            127.    In the early 1960’s, Harvard began actively seeking to increase the number

     of African-American students on its campus. Notwithstanding this concerted effort,

     African-American enrollment stagnated until 1968.

            128.    In 1968, Harvard altered its admissions policies and practices to admit

     more African Americans by taking into greater account the limitations of background and

     schooling that shaped the qualification of many African-American applicants.



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              129.   Under this new policy, an applicant who had “survived the hazards of

     poverty” and showed that he or she “is clearly intellectually thirsty” and “still has room

     for more growth” was given an admissions preference.

              130.   In 1969, one year after this policy change, Harvard’s African-American

     enrollment increased 76 percent over the prior year to 7 percent of the enrolled freshman

     class.   Although Harvard denied that it had instituted a quota, the enrollment rate

     consistently averaged 7 percent over the next several years.

              131.   In 1969, a majority of the African-American applicants admitted to

     Harvard came from socioeconomically challenged backgrounds. By 1973, however, this

     number had decreased dramatically, with 75 to 80 percent of the African Americans

     admitted to Harvard coming from backgrounds that did not include “the hazards of

     poverty.”

              132.   According to Dean Peterson, Harvard diminished its focus on applicants

     with disadvantaged backgrounds because African Americans from relatively privileged

     backgrounds allegedly made the transition to Harvard more easily than those from

     working class and poor backgrounds: “We have learned” that “we cannot accept the

     victims of social disaster, however deserving of promise they once might have been, or

     however romantically or emotionally an advocate (or a society) might plead for him.”

              133.   In 1978, Harvard submitted an amicus brief to the Supreme Court in

     Regents of the University of California v. Bakke that included a copy of the “Harvard

     College Admissions Program” as an Appendix.

              134.   The “Harvard College Admissions Program” submitted to the Supreme

     Court in Bakke stated that “for the past 30 years the Committee on Admissions” has




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     “adopted … [t]he belief … that if scholarly excellence were the sole or even predominant

     criterion, Harvard College would lose a great deal of its vitality and intellectual

     excellence and that the quality of the educational experience offered to all students would

     suffer.”

            135.    The “Harvard College Admissions Program” submitted to the Supreme

     Court in Bakke further stated: “The belief that diversity adds an essential ingredient to the

     educational process has long been a tenet of Harvard College admissions. Fifteen or

     twenty years ago, however, diversity meant students from California, New York, and

     Massachusetts; city dwellers and farm boys; violinists, painters and football players;

     biologists, historians and classicists; potential stockbrokers, academics and politicians.

     The result was that very few ethnic or racial minorities attended Harvard College. In

     recent years Harvard College has expanded the concept of diversity to include students

     from disadvantaged economic, racial and ethnic groups. Harvard College now recruits

     not only Californians or Louisianans but also blacks and Chicanos and other minority

     students. Contemporary conditions in the United States mean that if Harvard College is

     to continue to offer a first-rate education to its students, minority representation in the

     undergraduate body cannot be ignored by the Committee on Admissions.”

            136.    The “Harvard College Admissions Program” submitted to the Supreme

     Court in Bakke further stated: “In practice, this new definition of diversity has meant that

     race has been a factor in some admission decisions. When the Committee on Admissions

     reviews the large middle group of applicants who are ‘admissible’ and deemed capable of

     doing good work in their courses, the race of an applicant may tip the balance in his favor

     just as geographic origin or a life spent on a farm may tip the balance in other candidates’




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     cases. A farm boy from Idaho can bring something to Harvard College that a Bostonian

     cannot offer. Similarly, a black student can usually bring something that a white person

     cannot offer. The quality of the educational experience of all the students in Harvard

     College depends in part on these differences in the background and outlook that students

     bring with them.”

            137.   The “Harvard College Admissions Program” submitted to the Supreme

     Court in Bakke further stated: “In Harvard College admissions the Committee has not set

     target-quotas for the number of blacks, or of musicians, football players, physicists or

     Californians to be admitted in a given year. At the same time the Committee is aware

     that if Harvard College is to provide a truly heterogeneous environment that reflects the

     rich diversity of the United States, it cannot be provided without some attention to

     numbers. It would not make sense, for example, to have 10 or 20 students out of 1,100

     whose homes are west of the Mississippi. Comparably, 10 or 20 black students could not

     begin to bring to their classmates and to each other the variety of points of view,

     backgrounds and experiences of blacks in the United States. Their small numbers might

     also create a sense of isolation among the black students themselves and thus make it

     more difficult for them to develop and achieve their potential. Consequently, when

     making its decisions, the Committee on Admissions is aware that there is some

     relationship between numbers and achieving the benefits to be derived from a diverse

     student body, and between numbers and providing a reasonable environment for those

     students admitted. But that awareness does not mean that the Committee sets a minimum

     number of blacks or of people from west of the Mississippi who are to be admitted. It

     means only that in choosing among thousands of applicants who are not only




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     ‘admissible’ academically but have other strong qualities, the Committee, with a number

     of criteria in mind, pays some attention to distribution among many types and categories

     of students.”

            138.     The “Harvard College Admissions Program” submitted to the Supreme

     Court in Bakke further stated: “The further refinements sometimes required help to

     illustrate the kind of significance attached to race. The Admissions Committee, with only

     a few places left to fill, might find itself forced to choose between A, the child of a

     successful black physician in an academic community with promise of superior academic

     performance, and B, a black who grew up in an inner-city ghetto of semi-literate parents

     whose academic achievement was lower, but who had demonstrated energy and

     leadership, as well as an apparently abiding interest in black power. If a good number of

     black students much like A, but few like B, had already been admitted, the Committee

     might prefer B, and vice versa. If C, a white student with extraordinary artistic talent,

     were also seeking one of the remaining places, his unique quality might give him an edge

     over both A and B. Thus, the critical criteria are often individual qualities or experience

     not dependent upon race but sometimes associated with it.”

            139.     In 2003, Harvard submitted an amicus brief to the Supreme Court in

     Grutter v. Bollinger.

            140.     The Grutter amicus brief stated that Harvard “considers an academically

     qualified student’s race or ethnicity as one among many factors in a carefully designed,

     competitive admissions process that views each applicant as an individual and weighs the

     capacity of each to contribute to the class as a whole.”




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            141.    The Grutter amicus brief further stated that Harvard seeks “racial and

     ethnic diversity as a natural part of a long and expanding policy of inclusion” and that it

     “has been pursuing the idea of student diversity for a period that dates back to the

     nineteenth century.” That includes the period when Harvard was discriminating against

     Jewish and other disfavored minority groups.

            142.    The Grutter amicus brief further stated that a racial or ethnic admissions

     “quota” is “impermissible as an affront to the equal dignity of the excluded” and it

     defined a “quota” as a “policy that “exclude[s] someone altogether from a given position

     or opportunity on account of the individual’s race.”

            143.    In 2012, Harvard submitted an amicus brief to the Supreme Court in

     Fisher v. University of Texas at Austin.

            144.    The Fisher amicus brief stated that Harvard has “long used admissions

     policies similar to the Harvard Plan that Justice Powell approved in [Bakke] and the

     University of Michigan Law School plan upheld in Grutter.”

            145.    The Fisher amicus brief further stated that Harvard “consider[s] all aspects

     of an applicant’s background and experience, including in some circumstances the

     applicant’s racial or ethnic background.”

            146.    The Fisher amicus brief further stated that Harvard believes that “racial

     and ethnic diversity are a distinct kind of difference in background, and reliance on …

     race-neutral measures alone cannot substitute for individualized, holistic review that

     takes account of race and ethnicity.”




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            147.    In other words, it is now Harvard’s position that race or ethnicity itself—

     not other factors that may be associated with race or ethnicity—is a distinguishing

     characteristic that warrants consideration in the admissions process.

     VI.    HARVARD HAS A LONG HISTORY OF INTENTIONALLY
            DISCRIMINATING SPECIFICALLY AGAINST ASIAN AMERICANS.

            148.    Harvard started considering Asian-American students a discrete subset of

     its undergraduate applicant pool in the early 1970s.

            149.    At that juncture, Harvard took the position that Asian Americans students

     were not “under represented” on its campus and therefore were not in need of

     “affirmative action.” Harvard nevertheless included Asian Americans in its affirmative-

     action compliance reports to the Federal government.

            150.    Like Jewish applicants, Asian-American applicants tended to have

     superior academic records, and were well represented among the most successful

     students.

            151.    Harvard came to the conclusion that Asian Americans were “over-

     represented” in its student body.

            152.    According to Henry Rosovsky, Harvard’s Dean of the Faculty of Arts and

     Sciences (and later Acting President), Asian-American students were “no doubt the most

     over-represented group in the university.”

            153. In 1974, a group calling itself the Coalition of Asian Americans (“CAA”)

     formed at Harvard. For at least two years, Harvard refused to recognize the CAA as a

     minority student organization.




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            154.    In 1976, Harvard continued to refuse to recognize Asian Americans as a

     minority and barred those Asian Americans that had accepted admission to the college

     from participating in its Freshman Minority Orientation.

            155.    By 1977, the CAA had become the Asian-American Association

     (“AAA”).      The AAA demanded, among other things, that Harvard expand Asian-

     American recruitment and include Asian Americans within the college’s “affirmative

     action” program.

            156. Between 1976 and 1978, the proportion of Asian Americans increased from

     3.6 percent to 6.5 percent of the freshman class—a result of the successful mobilization

     of Asian-American students at Harvard. These events coincided with a massive increase

     in Asian Americans applying to Harvard for undergraduate admission.

            157. Despite these increases, Harvard held Asian Americans to a higher standard

     than other applicants.

            158. In 1983, Margaret Chin, a Harvard undergraduate who had worked in the

     college’s admissions office, co-authored a report entitled “Admissions Impossible.”

     Surveying data from 25 universities, the report found that while Asian-American

     applications to Harvard and other universities were soaring, enrollments were barely

     increasing.

            159. Although Harvard claimed that the lower admission rate for Asian-

     American applicants was attributable to weaker academic qualifications, the “Admissions

     Impossible” report found that, on average, Asian Americans were more qualified than

     other applicants and that Harvard had set an informal ceiling on Asian-American

     enrollment.




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            160. In the wake of this report, Harvard abandoned the argument that Asian-

     American applicants had weaker qualifications. Former Dean of Admissions Fred Jewett

     instead claimed, on behalf of Harvard, that “arguments over numbers ignore a whole

     range of personal qualities,” and that Harvard’s official policy favored “choosing people

     who bring talents underrepresented in the applicant pool.”

            161. In 1987, a study found that Asian-American students admitted to Harvard

     had an average SAT score of 1467, whereas white students admitted to Harvard had an

     average SAT score of 1355—a 112-point difference.

            162. In a 1987 New York Times article, Berkeley professor Ling-Chi Wang

     compared the way Asian Americans are considered in college admissions to the earlier

     treatment of Jews: “I think all of the elite universities in America suddenly realized they

     had what used to be called a ‘Jewish problem’ before World War II, and they began to

     look for ways of slowing down the admissions of Asians.” Robert Lindsey, Colleges

     Accused of Bias to Stem Asians’ Gains, New York Times (Jan. 19, 1987).

            163. In 1988, Harvard rejected Ling-Chi Wang’s claim of discrimination against

     Asian-American applicants just as it had rejected the “Admissions Impossible” study’s

     findings of discrimination. Dean of Admissions William Fitzsimmons—who remains

     Dean of Admissions today—acknowledged that “Asian Americans are slightly stronger

     than whites on academic criteria,” but blamed the disparity in admissions on Asian

     Americans, as a group, being “slightly less strong on extracurricular criteria.”

            164. In July 1988, the Office of Civil Rights (“OCR”) of the U.S. Department of

     Education began investigating the treatment of Asian-American applicants at Harvard to

     determine whether Harvard was engaging in discrimination in violation of Title VI of the




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     Civil Rights Act. However, the investigation was strictly limited to the treatment of

     Asian-American applicants as compared to white applicants.

            165. The OCR investigation lasted more than two years. Under the pressure of

     the investigation, Harvard began to increase its enrollment of Asian Americans. By the

     end of the investigation, the percentage of Asian Americans admitted to Harvard

     increased from 10.8 percent in 1988 to 16.1 percent in 1991.

            166. OCR announced its findings in October 1990. Focusing on ten groups

     admitted from 1979 through 1988, it found that Asian Americans had been admitted at a

     significantly lower rate for each of the past seven years, even though they were “similarly

     qualified” to white applicants.   OCR nevertheless blamed the differential on legacy

     preferences and found that the differential admission rates were not the product of racial

     or ethnic discrimination.

            167.    The OCR report was roundly criticized.          According to Harvard Law

     Professor Alan Dershowitz, for example, Harvard’s rationale was just pretext for

     intentional discrimination: “Asian Americans clearly get a big whack—not a tip—in the

     direction against them. Harvard wants a student body that possesses a certain racial

     balance…. I think the report was sloppy. I have absolutely no faith in the Harvard system

     of admissions.”

     VII.   HARVARD’S CURRENT DISCRIMINATORY ADMISSIONS PLAN

            A.      Harvard’s Stated Admissions Goals.

            168.    On its website, Harvard states as follows: “In our admissions process, we

     give careful, individual attention to each applicant. We seek to identify students who will




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     be the best educators of one another and their professors—individuals who will inspire

     those around them during their College years and beyond.”

            169.   The Harvard website further states that Harvard “asks [itself] many

     questions” about an applicant for admission, which generally fall under four categories:

     an applicant’s “growth and potential,” “interests and activities,” “character and

     personality,” and “contribution to the Harvard community.”

            170.   The Harvard website further states that, in assessing an applicant’s

     “growth and potential, the committee asks questions such as “Have you reached your

     maximum academic and personal potential” and “Do you have initiative?” and “What

     sort of human being are you now?”

            171.   The Harvard website further states that, in assessing an applicant’s

     “interests and activities,” the committee asks questions such as “Do you care deeply

     about anything—intellectual? Extracurricular? Personal?” and “What have you learned

     from your interests?” and “In terms of extracurricular, athletic, community, or family

     commitments, have you taken full advantage of opportunities?”

            172.   The Harvard website further states that, in assessing “character and

     personality,” the committee asks questions such as “What choices have you made for

     yourself?” and “Are you a late bloomer?” and “What about your maturity, character,

     leadership, self-confidence, warmth of personality, sense of humor, energy, concern for

     others, and grace under pressure?”

            173.   The Harvard website further states, in assessing an applicant’s

     “contribution to the Harvard community,” the committee asks questions such as “Will

     you be able to stand up to the pressures and freedoms of College life?” and “Will you




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     contribute something to Harvard and to your classmates?” and “Would other students

     want to room with you, share a meal, be in a seminar together, be teammates, or

     collaborate in a closely knit extracurricular group?”

             174.    The Harvard website further states that its admissions process “strives to

     be deliberate, meticulous and fair” while acknowledging that the process “permits

     extraordinary flexibility and the possibility of changing decisions virtually until the day

     the Admissions Committee mails them.”

             B.      Harvard’s Admissions Process.

                     1.      The Application.

             175. During an admissions cycle, the Harvard Admissions Committee reviews

     each student’s admissions materials.        Those materials include: (1) the Common

     Application or Universal College Application, including an essay, and the required parts

     of the Harvard Supplement; (2) the high school transcript, school report, and mid-year

     school report—all submitted by a student’s guidance counselor; (3) standardized test

     scores—submitted by the College Board; (4) teacher and guidance counselor

     recommendations; (5) optional on-campus and/or off-campus interviewer evaluation; (6)

     optional personal statements (found on the Harvard Supplement) in addition to the

     required essays; and (7) optional music tapes, artwork slides, or samples of academic

     work.

             176. Harvard gathers information about the race and ethnicity of its applicants

     through numerous ways.

             177. An applicant filling out a Common Application has the option of disclosing

     his or her racial identity.




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             178. The Common Application asks two questions to identify an applicant’s

     race and ethnicity: (1) “Are you Hispanic/Latino?” and (2) “Regardless of your answer to

     the prior question, please indicate how you identify yourself. (Check one or more and

     describe your background.) American Indian or Alaska Native (including all Original

     Peoples of the Americas); Asian (including Indian subcontinent and Philippines); Black

     or African American (including Africa and Caribbean); Native Hawaiian or Other Pacific

     Islander (Original People); or White (including Middle Eastern).”

             179. The Common Application requires applicants to identify their parents’ first

     and last name, the parents’ former last names, and their country of birth.

             180. Similarly, the Universal College Application gives the applicant the option

     of disclosing his or her racial identity.

             181. The Universal College Application asks two questions to identify an

     applicant’s race and ethnicity: “Are you Hispanic or Latino?” and “How would you

     describe your racial background? (select one or more of the following categories): Asian

     ([if so, identify] country of family origin); Black or African American; American Indian

     or Alaska Native ([if so, identify where] enrolled [and] Tribal affiliation; Native

     Hawaiian or Other Pacific Islander; or White.”

             182. The Universal College Application requires applicants to identify their

     parents’ first and last names.

             183. The Universal College Application also requires applicants to identify, if it

     is not English, the “language spoken in your home.”

             184. Harvard also encourages students to emphasize their race and ethnicity

     through their essays. According to Monica Del Toro, a Harvard Admissions Officer, the




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     essay “is the most important part of the application.” The biggest rule, she says, “is to

     stand out,” and a good way “to truly stand out from the rest of the pack is to discuss your

     culture.”

            185. Harvard accepts transfer students who have completed at least one

     continuous academic year in a full-time degree program at one college.

            186. Harvard evaluates applicants for transfer in the same purportedly “holistic”

     manner it evaluates all other applicants. Harvard uses race or ethnicity as a factor in

     evaluating transfer applicants.

                      2.     The Review Process.

            187.      Students are admitted through one of four lists: (1) early admissions; (2)

     regular admissions; (3) the waitlist; or (4) the “Z-list.” A student accepted through the

     early admission process must accept Harvard’s offer of admission.

            188. As the admissions materials are received at the admissions office, they are

     stamped, dated, sorted, and organized in a folder, called the “file,” along with a

     scorecard, called the “reading sheet,” which is used to evaluate the applicant’s eligibility

     for admission.

            189. Admissions officers start by assessing each applicant in four areas

     (academics, extracurriculars, personal qualities, and athletics) on a scale of one (best) to

     six (worst).

            190. Those who pass this initial threshold move forward to a second and

     sometimes third reader for further appraisal; the rest form the first batch of rejections,

     their folders marked with notes such as “below the edge” or “case falls flat.”




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             191. Small teams of admissions officers, each responsible for one of the 25 or so

     geographic regions or “dockets” into which Harvard divides its applicants, then scrutinize

     the remaining applicants for as long as five days.

             192. After the docket reader has looked through and graded the file on the

     reading sheet, the folder is passed on to two more readers, who examine and evaluate all

     materials on separate reading sheets. The information from the three reading sheets is

     compiled onto a final reading sheet. Once this sheet has been prepared for all applicants

     in the docket, the admissions committee convenes to discuss the eligibility of all

     applicants from that docket.

             193. Between 5,000 and 7,000 applicants proceed to the last and most

     contentious stage, the full committee meeting, in which all 35 admissions officers debate

     and vote on who will make the final cut. The committee’s decisions are ultimately

     rendered by simple majority ballot.

             194. Typically, more students are voted in than space will permit. So the final

     portion of the process is spent in “reruns,” in which candidates who had won approval

     have their initial acceptances rescinded.

             195.    After reruns, a final decision is made either to accept, reject, wait-list, or

     “Z-list” the applicant.

             196.    Harvard considers race and/or ethnicity as a factor in whether to accept,

     reject, wait-list, or “Z-list” an applicant.

             197.    Applicants who are waitlisted are reviewed again by Harvard admissions

     officials in May after the admissions office has received students’ updated class grades,

     test scores, and achievements.




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            198.    Those select students placed on the “Z-list” are admitted on the condition

     that they take a mandatory year off before enrolling in Harvard. Harvard uses the Z-list

     to admit legacies and children of affluent families and elite schools who cannot gain

     admission through the ordinary course.

            199.    Harvard does not reveal publicly any aspect of its deliberative or

     decisional admissions process other than the end result.

     VIII. HARVARD     CURRENTLY     ENGAGES    IN   INTENTIONAL
           DISCRIMINATION AGAINST ASIAN-AMERICAN APPLICANTS.

            200.    Harvard intentionally discriminates against Asian-American applicants.

     This discrimination is shown through both direct and circumstantial evidence, including

     statistical studies of Harvard’s admissions decisions. These studies confirm what Asian-

     American applicants and their parents already know: Harvard intentionally and

     artificially limits the number of Asian Americans to whom it will offer admission.

            A.      There Is Decisive Statistical Evidence That Harvard Discriminates
                    Against Asian-American Applicants.

            201.     Each year, Harvard publishes a significant amount of data concerning its

     application process. Among other things, Harvard releases admitted student data and

     enrolled student data broken down by racial category.

            202.    Harvard used to allow the public to examine admission rates by race as

     well. More recently, however, Harvard began keeping these figures secret. Harvard has

     never offered an explanation for this decision.

            203.    By contrast, the prestigious University of California system routinely

     releases information about its applicant pool broken down by racial category, which

     allows the public to examine admission rates by race.




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            204.    Nonetheless, significant data regarding Harvard’s applicant pool has been

     made publicly available.

            205.    This statistical evidence establishes that Harvard is intentionally

     discriminating against Asian Americans by making it far more difficult for Asian

     Americans than for any other racial and ethnic group of students to gain admission to

     Harvard.

            206.    Princeton professor Thomas J. Espenshade and his coauthor, Alexandra

     Radford, conducted an authoritative study of the role of race in elite American

     undergraduate admissions for their book No Longer Separate, Not Yet Equal, which was

     published in 2009. Espenshade and Radford gathered exhaustive application data on a

     group of three elite public and four elite private colleges.

            207.    Controlling for a wide variety of academic, demographic, and personal

     characteristics, Espenshade and Radford found that Asian-American students were

     dramatically less likely to be admitted than otherwise similar students who identified

     themselves as white or Caucasian. In fact, Espenshade and Radford’s analysis showed

     that the negative odds-ratio affecting Asian Americans relative to Whites was larger than

     the positive odds-ratio affecting African Americans relative to Whites.

            208.    The Espenshade-Radford study also expressed the admissions penalty

     facing Asian Americans in terms of SAT-point equivalents. The authors reported that

     Asian Americans needed SAT scores that were about 140 points higher than white

     students, all other quantifiable variables being equal, to get into elite schools. Thus, if a

     white student needed a 1320 SAT score to be admitted to one of these schools, an Asian

     American needed a 1460 SAT score to be admitted. That is a massive penalty given that




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     marginal differences in SAT scores are magnified among those students competing for

     admission to the most elite universities, as there is less room at the very top of the SAT

     scale to differentiate between applicants.

            209.    Recent statistical evidence reveals that discrimination against Asian

     Americans at Harvard is even more severe than the Espenshade-Radford study found.

            210.    In recent years, The Harvard Crimson has been surveying incoming

     freshmen. In 2013, nearly 80% of the incoming class of 2017 responded to its survey.

     According to the survey, the average SAT of respondents was 2237 (on a 2400-scale),

     while the average SAT of individual ethnic groups varied widely: 2299 for East Asians

     and Indians, 2107 for African-Americans, and 2142 for Native Americans). Given this

     reporting, the average SAT for non-Hispanic Whites is at or somewhat below the overall

     median.

            211.    This class average (2237) corresponds to roughly the 99.5 percentile of the

     SAT, meaning that Harvard draws half of its class from students scoring in the top 1/2 of

     1 percent of the SAT I distribution. The “East Asian and Indian” average of 2299

     corresponds to the 99.9 percentile of the SAT, meaning that Harvard draws about half of

     this ethnic group from the top 1/10 of 1 percent of the SAT I distribution. That is a

     dramatically higher standard of academic performance. Harvard requires much more of

     its Asian-American applicants than it requires of other races and ethnicities.

            212.    Dr. Richard Sander, a professor of law at UCLA, and Medha Uppala, a

     graduate student in statistics at UCLA, recently co-authored a working paper titled The

     Evolution of SES Diversity in the Applicant Pool of Highly Selective Universities, 1994-

     2012. In this working paper, Dr. Sander and Ms. Uppala examine data on several Ivy




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     League colleges that shed valuable light on the admissions practices at these schools.

     The paper examines the degree to which elite colleges, including Harvard, have expanded

     their access in recent years to students with low socioeconomic status. The primary data

     source is a widely used database from the College Board, which biannually compiles

     anonymized data on 100,000 SAT-takers nationwide.            The paper reveals startling

     application patterns from the aggregated data that it reports, which, in conjunction with

     other data sources, make manifest Harvard’s massive intentional discrimination against

     Asian Americans.

            213.    As an initial matter, the paper finds that Asian Americans are being

     admitted to these schools at a far lower rate than the rate at which they apply. The paper

     notes that for “three of the most selective Ivy League colleges,” the average racial

     makeup of all domestic score senders between 2008 and 2012 is 27.3 percent Asian

     American, 11.3 percent African American, 12.5 percent Hispanic, 40.4 percent non-

     Hispanic White, and 8.5 percent other race or non-identified. Over this same time period,

     however, Asian Americans represented only 17-20 percent of the admitted students. No

     other racial or ethnic group at these schools is as underrepresented relative to its

     application numbers as are Asian Americans. Indeed, no other racial or ethnic group

     comes even remotely close to this level of underrepresentation.

            214.    Thus, if Harvard admitted randomly from its applicant pool, the number of

     Asian Americans in its entering freshman class would be far higher than it actually is.

            215.    These data alone provide strong evidence that Harvard is engaging in

     intentional discrimination against Asian-American applicants absent some factor that

     makes this gross disparity explainable on non-discriminatory grounds.




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            216.    Moreover, the paper’s data shows that Asian-American applicants have,

     on average, stronger qualifications for admission than any other racial or ethnic group

     applying to top Ivy League schools.

            217.    Ironically, then, the most underrepresented group of admitted students

     relative to the applicant pool is the most overrepresented racial or ethnic group among

     top academic performers.

            218.    Among “three of the most selective Ivy League colleges,” the paper’s data

     shows that, during the 2008, 2010, and 2012 admissions cycles, Asian Americans, on

     average, constituted nearly 39 percent of all domestic SAT-takers who (a) had scores of

     2100 or higher and (b) sent their scores to these schools.

            219.    The Harvard Crimson survey, as does every other available public source,

     confirms that the vast majority of Harvard’s students come from this pool of applicants

     (with SAT scores of 2100 or higher).

            220.    Remarkably, students with higher test scores were even more likely to be

     Asian Americans. In 2008, Asian Americans made up 46 percent of domestic Harvard

     score-senders with SAT scores above 2200 (a range from which Harvard draws more

     than half of its students).    In addition, Asian Americans made up an even higher

     percentage of the very top students; they accounted for 55 percent of domestic Harvard

     score-senders with SAT scores above 2300. These patterns are very similar across all of

     the top Ivy League schools. In 2008-12, for the three Ivy League schools analyzed by Dr.

     Sander and Ms. Uppala, Asian Americans made up 38.9 percent of all domestic score-

     senders with SAT scores above 2100; 45 percent of domestic score-senders with SAT

     scores above 2200; and over 51 percent of domestic score-senders with SAT scores




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     above 2300. These data, in combination with other publicly available data, demonstrate

     that Asian Americans admitted to Harvard are vastly underrepresented—by a factor of

     half or even two-thirds—relative to the number of applications from Asian Americans

     that Harvard receives.

            221.    There is no reason to doubt that Harvard is one of the three Ivy League

     colleges in Dr. Sander’s and Ms. Uppala’s analysis. Harvard is among the most selective

     colleges in the Ivy League (if not the most selective). But even if Harvard is not one of

     the colleges they examined, its patterns of Asian-American enrollment and selectivity

     closely match those of the “three of the most selective Ivy League colleges” in Dr.

     Sander’s and Ms. Uppala’s analysis such that there is no reason to believe their

     conclusions would not apply to Harvard.

            222.    In all events, Harvard’s data is highly consistent with all other Ivy League

     schools, which as Table A shows, inexplicably enroll Asian Americans in remarkably

     similar numbers year after year after year.




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                                                 Table A
                                  Ivy League Enrollment (Asian Americans)

            School         2007      2008      2009        2010    2011     2012     2013

            Brown          15%       16%       15%         15%      14%     12%      14%

           Columbia        17%       17%       16%         16%      16%     16%      18%

            Cornell        16%       17%       17%         16%      16%     16%      16%

          Dartmouth        14%       14%       15%         15%      14%     14%      14%

           Harvard         15%       17%       17%         16%      17%     18%      18%

             Penn          17%       17%       18%         18%      18%     18%      18%

           Princeton       14%       15%       16%         17%      18%     19%      17%

             Yale          14%       14%       15%         15%      15%     16%      16%


            223.       Various additional studies confirm that Harvard is intentionally

     discriminating against Asian-American applicants and that it is doing so in much the

     same manner as it discriminated against Jewish applicants decades ago.

            224.       In 2012, Ron Unz, who holds an undergraduate physics degree from

     Harvard and studied theoretical physics at Stanford, conducted an extensive study of Ivy

     League admissions.        See Ron Unz, The Myth of American Meritocracy, American

     Spectator (Dec. 2012). Mr. Unz found rampant discrimination against Asian Americans

     by Ivy League universities generally and Harvard specifically.

            225.       Using data from the National Center for Educational Statistics, as well as

     other sources, Mr. Unz found that the “ethnic composition of Harvard’s undergraduates

     … follows a highly intriguing pattern.” In particular, he found that after seeing a steady

     increase in Asian-American admissions through the 1980s and into the 1990s, in 1993

     “Asian numbers went into reverse, generally stagnating in the two decades that followed,

     with the official 2011 figure being 17.2 percent.”


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            226.      Unz found “[e]ven more surprising … the sheer constancy of these

     percentages, with almost every year from 1995-2011 showing an Asian enrollment within

     a single point of the 16.5 percent average, despite high fluctuations in the numbers of

     applications and the inevitable uncertainty surrounding which students will accept

     admission.” Unz highlighted that “this exactly replicates the historical pattern … in

     which Jewish enrollment rose very rapidly, leading to the imposition of an informal quota

     system, after which the numbers fell substantially, and thereafter remained roughly

     constant for decades.”

            227.      A report by the Consortium on Financing Higher Education, in the

     Harvard Class of 1995, also showed that Asian Americans are held to a higher standard

     than any other group of applicants. See Melissa Lee, Report Discloses SATs, Admit Rate,

     The Harvard Crimson (May 7, 1993). Responding to this study, Dean Fitzsimmons

     stated that race is “only one factor in deciding whether a candidate is admitted,” but that

     certain minority groups, particularly African Americans, are “highly sought after” and

     that, “[s]tatistically, one could make the argument that it’s easier for certain minorities [to

     be admitted].”

            228.      Dean Fitzsimmons added: “It’s true that admission rates for Asian

     Americans and whites are lower than the admission rates for Hispanics and African

     American students and Native American students as well. But it’s more complicated than

     that. . . . The question we look at is how much more likely will white and Asian

     American students have access to the kind of preparation that will make one an

     outstanding college candidate here.”




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               229.   No non-discriminatory factor justifies the gross disparity in Asian

     American admissions relative to their presence in Harvard’s applicant pool.

               230.   One non-discriminatory factor that theoretically could justify this gross

     disparity would be if a disproportionally high percentage of Asian-American students

     were clustered at the low end of the applicant pool with regard to academic qualifications

     as compared to other racial groups. But as Dr. Sander’s and Ms. Uppala’s paper and

     other data show, the opposite is in fact true. A disproportionally high percentage of

     Asian-American students are clustered at the high end of the applicant pool with regard to

     academic qualifications.

               231.   Another non-discriminatory factor that theoretically could justify this

     gross disparity would be if a disproportionally high percentage of Asian-American

     students were lacking with regard to non-academic criteria as compared to other racial

     groups.

               232.   But there is no data to support that theory. See, e.g., Esteban M. Aucejo,

     Hanming Fang, and Ken Spenner, “Does Affirmative Action Lead to Mismatch? A New

     Test and Evidence,” 2 Quantitative Economics 303 (2011). This study found no racial

     advantage for underrepresented minority applicants in levels of personal achievement.

               233.   Studies also have shown that high-achieving Asian-American students are

     equally, if not more, qualified than other racial groups with regard to non-academic

     criteria.   At the University of California, Los Angeles (UCLA), over several years,

     undergraduate admissions readers assigned each applicant three types of scores:

     “academic achievement” (principally high school grades, AP courses, and standardized

     test scores); “life challenges” (mainly socioeconomic background); and “personal




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     achievement” (such as leadership, musical ability, and community service). These three

     scores jointly determined virtually all admissions decisions.       See Peter Arcidiacono,

     Thomas Espenshade, Stacy Hawkins, and Richard Sander, A Conversation on the Nature,

     Effects, and Future of Affirmative Action in Higher Education Admissions, Pennsylvania

     Journal of Constitutional Law (Fall 2014).

            234.    The data cover over 100,000 undergraduate applicants to UCLA over

     three years and show absolutely no correlation between race and “personal achievement.”

     Rather, the data show that the only strong predictor of personal-achievement scores is

     academic achievement; applicants with high test scores and grades tended to have

     personal achievement scores that were about one standard deviation higher than

     applicants with low test scores and grades.

            235.    There is no evidence that Asian Americans applying to UCLA have

     personal achievement credentials that Asian Americans applying to Harvard uniformly

     lack. Rather, all available evidence points in the opposite direction.

            236.    Moreover, notwithstanding Harvard’s public relations emphasis on non-

     academic factors in reviewing applications, academic performance is the principal criteria

     for admission—except when it comes to minority groups that are either preferred or

     discriminated against based on their race and ethnicity.

            237.    Academic analyses of dozens of application processes at colleges and law

     schools around the country demonstrate that selective schools give far more weight to

     academic achievement and preparation than to other types of accomplishment and

     activity. See Richard Sander, Why Strict Scrutiny Requires Transparency: The Practical




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     Effects of Bakke, Gratz, and Grutter (2011). In general, academic factors alone explain

     about 80 percent of admissions decisions at selective schools.

            238.    The gross disparity between the percentage of Asian-American students in

     the applicant pool and those in the admitted pool therefore are not explainable on any

     grounds other than intentional discrimination on the basis of race.

            B.      Elite Schools That Use Race-Neutral Admissions Have Far Higher
                    Asian-American Enrollment.

            239. Other elite colleges and universities do not consider race in their

     admissions process, and therefore serve as controls against which to measure Harvard’s

     admission and enrollment figures. Those universities uniformly admit and enroll far

     higher percentages of Asian American students than Harvard.

            240. For example, the California Institute of Technology (Caltech) is a private

     school that selects its students by strict academic standards and chooses not to consider

     race. Almost 40 percent of its undergraduates are Asian American.

            241. Table B sets forth the Asian-American percentage of the total

     undergraduate enrollment at Caltech and Harvard:




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                                         Table B
                                 Asian-American Enrollment
                                           Harvard   Caltech
                                1992       19.1%     25.2%
                                1993       20.6%     26.9%
                                1994       18.3%     29.8%
                                1995       18.4%     29.1%
                                1996       17.5%     27.6%
                                1997       17.4%     27.4%
                                1998       17.0%     24.1%
                                1999       17.2%     24.3%
                                2000       17.1%     24.9%
                                2001       16.4%     24.5%
                                2002       16.3%     27.2%
                                2003       16.2%     31.1%
                                2004       17.1%     31.1%
                                2005       17.6%     33.0%
                                2006       14.3%     37.4%
                                2007       15.4%     38.1%
                                2008       16.7%     39.8%
                                2009       17.0%     39.9%
                                2010       15.6%     39.4%
                                2011       17.2%     38.8%
                                2012       17.7%     39.6%
                                2013       18.0%     42.5%

            242.   The following graph represents the Asian-American enrollment trends

     between the two schools:




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            243. The University of California system also does not use racial preferences, as

     they were banned via popular referendum in 1996. Asian Americans currently make up

     34.8 percent of UCLA’s student body and 32.4 percent of the University of California at

     Berkley’s student body.

            244. A similar phenomenon exists at elite high schools. Those high schools that

     do not employ racial preferences have extraordinarily high percentages of Asian

     Americans. For example, Hunter College High School in New York chooses students

     without giving preference to legacies, athletes, or underrepresented minorities. This

     admissions system produced a student body that was 49 percent Asian American in 2013.

            245. Similarly, Thomas Jefferson High School for Science and Technology, a

     magnet school in Virginia that is consistently ranked one of the best high schools in the

     country, does not employ racial preferences. Its 2014 entering fall class is 66 percent

     Asian American.


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             C.      Statements By Admissions Staff At Harvard And Other Schools
                     Provide Further Evidence That Harvard Discriminates Against
                     Asian-American Applicants.

             246. Harvard evaluators consistently rank Asian-American candidates below

     White candidates in “personal qualities.”      In comments written in applicants’ files,

     Harvard admissions staff repeatedly have described Asian Americans as “being quiet/shy,

     science/math oriented, and hard workers.”

             247. One Harvard official summed up the profile of a purportedly typical Asian

     applicant this way: “He’s quiet and, of course, wants to be a doctor.”

             248. Another Harvard official wrote that an applicant’s “scores and application

     seem so typical of other Asian applications I’ve read: extraordinarily gifted in math with

     the opposite extreme in English.”

             249. According to Hunter College High School’s director of college counseling,

     admissions officers at elite universities often complain that Asian American applicants all

     look the same on paper. “When Harvard calls us back and gives us a brief synopsis of

     why certain [Asian] kids didn’t make it, they’ll say, ‘There were so many kids in the pool

     that looked just like this kid.’”

             250. Admissions officers at other top schools have expressed similar sentiments.

     For example, asked why Vanderbilt poured resources into recruiting Jewish students

     instead of Asian Americans, a former administrator said, “Asians are very good students,

     but they don’t provide the kind of intellectual environment that Jewish students provide.”

             251. Rod Bugarin, a former admissions officer at Wesleyan, Brown, and

     Columbia, stated: “The bar is different for every group. Anyone who works in the




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     industry knows that.” Without affirmative action, “our elite campuses will look like

     UCLA and Berkeley,” and “[t]hat wouldn’t be good for Asians or for anyone else.”

            D.      College Counselors Acknowledge Discrimination Against Asian
                    Americans At Elite Universities.

            252. College counselors and advisors recognize that discrimination against

     Asian Americans occurs at elite universities such as Harvard and thus tell Asian

     Americans to hide their identity, to emphasize personal characteristics that avoid Asian

     stereotypes, and, in many cases, to lower their expectations and apply elsewhere.

            253. For example, the Princeton Review, the leading guide to college

     admissions, gives specific recommendations for Asian-American students applying to

     elite schools such as Harvard on how to overcome these schools’ anti-Asian-American

     bias. Its recommendations are both honest and discouraging.

            254. According to the Princeton Review: “Asian Americans comprise an

     increasing proportion of college students nationwide. Many Asian Americans have been

     extraordinarily successful academically, to the point where some colleges now worry that

     there are ‘too many’ Asian Americans on their campuses. Being an Asian American can

     now actually be a distinct disadvantage in the admissions processes at some of the most

     selective schools in the country. Increasingly, the standard for affirmative action isn’t

     minority status, but under-represented minority status.         Since Asian American

     populations at many colleges exceed the proportion of Asian Americans to the population

     of the state or country as a whole, Asian Americans are a minority, but not an under-

     represented minority, at those colleges…. If you are an Asian American—or even if you

     simply have an Asian or Asian-sounding surname—you need to be careful about what

     you do and don’t say in your application.”



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            255. According to the Princeton Review: “You need to avoid being an Asian Joe

     Bloggs. Asian Joe Bloggs is an Asian American applicant with a very high math SAT

     score, a low or mediocre verbal SAT score, high math- or science-related SAT II scores,

     high math and science grades, few credits in the humanities, few extracurricular

     activities, an intended major in math or the sciences, and an ambition to be a doctor, an

     engineer, or a research scientist. The more you sound like this person, the more likely

     admissions officers will be to treat you as part of the ‘Asian invasion’ and reject your

     application, or at the very least make you compete against other Asian applicants with

     similar characteristics, rather than against the applicant pool as a whole.”

            256. Princeton Review further explains: “If you share traits with Asian Joe

     Bloggs you should probably pay careful attention to the following guidelines:

            •   If you’re given an option, don’t attach a photograph to your
                application and don’t answer the optional question about your ethnic
                background. This is especially important if you don’t have an Asian-
                sounding surname. (By the same token, if you do have an Asian-
                sounding surname but aren’t Asian, do attach a photograph.)

            •   Work on your verbal SAT score, take some literature and history
                courses, and get involved in activities other than math club, chess club,
                and computer club.

            •   Do not write your application essay about the importance of your
                family or the positive/negative aspects of living in two cultures. These
                are Asian Joe Bloggs topics, and they are incredibly popular. Instead,
                write about something entirely unrelated to your ethnic background.

            •   Don’t say you want to be a doctor, and don’t say you want to major in
                math or the sciences. You don’t have to lie. If you have lousy SAT
                verbal scores, saying you want to be an English major isn’t going to
                help you, either. Just say you’re undecided. The point is to distance
                yourself as much as possible from the stereotype.

            •   These guidelines are less important if you are chiefly interested in less
                selective schools or if you are applying to schools where all the
                students take only math and science courses and dream of medical or


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                research careers. In fact, Asian Joe Bloggs’s high math and science
                scores can be an advantage in applying to schools below the Ivy league
                level. Even there, though, the less you sound like the stereotype, the
                better your chances will be.”

            257. Whole new industries have sprung up to help Asian Americans overcome

     discrimination and secure admission to elite universities, including Harvard.

            258. One organization called “Asian Advantage College Consulting” promises

     to help an “Asian-American student applying to elite colleges beat the Asian Quotas.” Its

     strategy is, first, recognizing that “Asian students need to approach the admissions

     process in a completely different manner than the white or non-Asian applicant” and,

     second, developing a strategy to stand out from the many “Asian-American applicants

     with high grades and SAT/ACT scores, along with a seemingly impressive list of awards

     and achievements in science fairs, musical competitions and school-based activities like

     debate and the robotics club.”

            259. Similarly, the Ivy League Coach, a college counseling practice, provides

     specific recommendations for Asian Americans: “The fact is, highly selective colleges

     seek a diverse incoming class and a diverse incoming class does not mean an all Asian

     class. So Asian students do indeed compete against each other. Does that mean that an

     Asian American student shouldn’t check off ‘Asian American’ on their college

     application? Not necessarily. A student should check off the ethnicity that they’re most

     comfortable with, the ethnicity or ethnicities that they most closely identify with. But

     what the article on Asians and college admissions … doesn’t say is that college

     admissions counselors are going to suspect that Henry Chang is Asian whether or not

     Henry Chang checks the box. But that doesn’t mean Henry can’t do something about

     differentiating himself from other Asian American applicants…. Don’t just be the math



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     kid with perfect scores who competes in Mathletes. Don’t just play the violin. Do

     something that many of the Asian American kids in your class aren’t doing…. Whether

     or not the following is [politically correct], it’s also true: What you want to do is

     distinguish yourself from any perceived stereotypes.”

            260. The bias against Asian-American applicants discussed by these college

     counselors exists at Harvard. Many high school guidance counselors caution students

     applying to Harvard not to list their race as Asian.

            261. According to one high school guidance counselor, Asian Americans face

     difficulty because they cannot distinguish themselves within their community: “[e]very

     single child has had music lessons. Every single child succeeds well in math. Every

     single child has done community service in a hospital. Every child has done Chinese or

     Korean studies on Saturday and is fluent in that language.”

            E.      Asian-American Applicants And Their Families Know That They Are
                    Being Discriminated Against By Elite Universities.

            262. Asian Americans are not blind to the discrimination employed by Harvard

     and other elite colleges and universities.

            263. According to Princeton economist Uwe Reinhardt, “within the Asian

     community, of which I’m a part, there’s this feeling that, for you to get into Harvard or

     Princeton, you’ve got to be better than everybody else.”

            264. According to Kara Miller, a former Ivy League admissions officer, “Asian

     kids know that when you look at the average SAT for the school, they need to add 50 or

     100 to it. If you’re Asian, that’s what you’ll need to get in.”

            265. For example, Iris Wang, a senior at Hunter College High School, one of the

     best public high schools in America, scored a 1520 SAT score and had top grades. Her



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     father is a chemist and her mother a postal worker. She was rejected by Harvard, as well

     as numerous other schools. According to Wang, “All the schools basically say, ‘we don’t

     discriminate.’   But I went to the Columbia session and they said they value a

     multicultural community. If they want to be multicultural, there’s only so many of one

     culture they can take.”

            266. Daniel Golden, the Pulitzer Prize-winning reporter then of The Wall Street

     Journal, described Jamie Lee, who applied to Harvard, as well as six other elite private

     schools: According to Mr. Golden, “Jamie Lee was a superb student. Born in Hong

     Kong to an English father and Chinese mother, he grew up in London, where teachers

     marveled at his ability and his IQ was measured at 162, widely considered genius level.

     When his family emigrated to Greenwich, Connecticut, in 2003, he quickly established

     himself as a top student at Greenwich High, a premier public school. On his first tries,

     without a test-prep course, he scored the maximum on the PSAT, the SAT, and two of his

     three SAT II subject tests; on the third SAT II, writing, he missed by only 20 points,

     scoring 780 out of 800. Nor was he merely a standardized-test machine; his problem

     solving displayed impressive originality. In 2005, Jamie won the Greenwich High award

     given to the senior who ‘demonstrates creative ability and inventiveness in math, who

     may take the unusual approach to a problem and come up with an unexpected answer.’

     His creativity also emerged in music (the high school string ensemble performed his

     composition ‘Three Dances,’ with Jamie on cello) and mechanical design (he built an

     ingenious wooden cabinet with doors that automatically opened and closed a mobile rack

     for storing compact discs). ‘He likes to be opposition and play the devil’s advocate,’ said

     his junior-year Latin teacher, Camille Fusco. ‘He’s very independent in his thinking. On




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     an essay question, he’d deliberately take the point of view I didn’t want to hear. But he

     got away with it because he can take any view brilliantly.’”

            267. Despite this academic record, Harvard—as well as Princeton, Yale,

     Stanford, Columbia, Dartmouth, and MIT—denied Jamie Lee admission. Fusco said he

     “‘was really shocked [Jamie] didn’t get in” because he “‘thought of him as a Harvard

     person.’”

            268. Jamie’s English literature teacher, Brigid Barry, said she too was “‘very,

     very surprised. There’s no doubt he’s an outstanding student,’” and that in eight years of

     teaching AP English, she had seen the Ivy League schools admit many weaker

     candidates.

            269. Marlyn McGrath Lewis, Harvard’s director of admissions, told Jamie’s

     father that Jamie “‘was an excellent student but that a number of better musicians had

     applied.’” When asked later if Jamie was held to a higher standard because he was half

     Asian, Ms. Lewis declined to comment.

            270. One strategy that Asian-American students applying to Harvard use is to

     avoid identifying their race. Many Asian-American students are unwilling to state their

     race at all on college applications.

            271. For example, Lanya Olmstead was born in Florida to a mother who

     immigrated from Taiwan and an American father of Norwegian ancestry. Ethnically, she

     considers herself half Taiwanese and half Norwegian. But when applying to Harvard,

     Olmstead checked only one box for her race: white. According to Olmstead: “I didn’t

     want to put ‘Asian’ down … because my mom told me there’s discrimination against




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     Asians in the application process…. Not to really generalize, but a lot of Asians, they

     have perfect SATs, perfect GPAs, … so it’s hard to let them all in.”

            272. Said another student: “As someone who was applying with relatively

     strong scores, I didn’t want to be grouped into that stereotype … I didn’t want to be

     written off as one of the 1.4 billion Asians that were applying.”

            273. Applicants who are part Asian American regularly attempt to conceal their

     Asian ancestry when applying to Harvard out of concern it would greatly reduce their

     chances of admission.

            274. For example, Harvard student Heather Pickerell, born in Hong Kong to a

     Taiwanese mother and American father, refused to check any race box on her application

     because “I figured it might help my chances of getting in.”

            275. According to Lee Cheng, founder of the Asian American Legal

     Foundation, “Many Chinese-American children have internalized their anger and pain,

     confused about why they are treated differently from their non-Chinese friends. Often

     they become ashamed of their ethnic heritage after concluding that their unfair denial is a

     form of punishment for doing something wrong.”

            276. Another example is Henry Park. According to Daniel Golden’s reporting:

     “Henry Park ranked 14th out of 79 members of the class of 1998 at Groton School, a

     super competitive prep school in Groton, Massachusetts. He got a perfect 800 on the

     math SAT for a combined score of 1560 out of 1600, placing him in the top one-quarter

     of 1 percent of college-bound students. On the SAT II subject test, he scored another

     perfect 800 on the harder of the two math exams offered, along with 760 out of 800 in

     Latin and 740 in physics. He played violin and competed on the cross-country team, and




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     a respected math journal published a paper he coauthored with two classmates. And as

     the son of hardworking, middle-class Korean immigrants who dreamed of a better life for

     their children and scrimped to pay Groton’s tuition, Henry seemed to embody the up-by-

     his bootstraps American saga that is supposed to appeal to college admissions officers.”

            277. Henry’s guidance counselor at Groton nevertheless discouraged him from

     applying to the Ivy League, telling him “it was a long shot at best, and advised him to

     lower his expectations to second- and third-tier schools.”

            278. Harvard denied Henry admission, as did Yale, Brown, and Columbia. At

     the same time, Ivy League universities admitted 34 of Henry’s Groton classmates.

     According to Henry: “When the decisions came out, and all these people started getting

     in, I was a little upset. I feel I have to hold myself to a higher standard.” Added his

     mother, Suki Park, “I was naïve. I thought college admissions had something to do with

     academics.”

            279. Henry Park’s mother described the harm caused to Henry and his family: “I

     have thought many, many times why Henry failed. It was just devastating. He just failed

     like a falling leaf…. Korean Americans have to do a lot better than Caucasians to get

     admitted, and it’s probably the same for other Asians. It’s very, very tough. Presently,

     yes, there is discrimination.”

            280. When MIT’s dean of admissions Marillee Jones was asked about Henry

     Park, who was rejected by Harvard, she said that “it’s possible that Henry Park looked

     like a thousand other Korean kids with the exact same profile of grades and activities and

     temperament. My guess is that he just wasn’t involved or interesting enough to surface to




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     the top.” To Ms. Jones, it made sense for universities to admit other students over “yet

     another textureless math grind.”

            281. The “model minority” stereotype of high-achieving Asian Americans does

     an even greater disservice to socioeconomically disadvantaged individuals by making it

     virtually impossible for disadvantaged Asian Americans to compete with disadvantaged

     students from other races who are held to a lower standard.

            282. For example, Kai Chan, a Princeton doctoral student in economics and the

     son of Chinese immigrants, describes the struggles he has endured: “Is it fair in the name

     of (skin-deep) diversity to hold back qualified students from admission to the Ivies

     because of their race?     After all, it is a fact that Asians need higher academic

     achievements than their peers to get admitted to the same school…. The misguided

     approach of programs like affirmative action can be seen through my experience. I am

     the son of poor, non-English speaking parents, neither of whom attended high school.

     They never read to me as a child. They never attended my graduations. I went to some

     terrible high schools. (Altogether, I attended five high schools, one of which was known

     locally as ‘last chance high.’) I worked practically full-time while attending high school

     and college. But I’ve never gotten the benefit of the doubt anytime in my life. If

     anything, I’ve had to be better than my peers.”

            283. Application statistics confirm that Asian Americans are aware of (and have

     responded to) the discrimination they suffer at Harvard.        As the Asian-American

     population of the United States has grown, so has its share of academically high-

     achieving students. As Dr. Sander’s paper shows, Asian Americans made up roughly 21

     percent of all domestic SAT takers with scores above 1400 in the 1994, 1996, and 1998




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     admissions cycles. In the 2008, 2010, and 2012 admissions cycles, Asian Americans

     made up roughly 33 percent of all domestic SAT takers with scores above 2100—an

     increase roughly proportionate to the growth of the Asian-American proportion of all

     SAT takers.

            284. Yet during this same period, as many elite colleges, including Harvard,

     increasingly discriminated against Asian Americans, the proportion of high-scoring Asian

     Americans sending their scores to these schools declined sharply. As Dr. Sander and Ms.

     Uppala report, the proportion of Asian Americans with top SAT scores (i.e., above 1400

     in 1994-98 and 2100 in 2008-12) who sent their scores to the most selective Ivy League

     schools fell from 39.7 percent in the mid-1990s to only 27.4 percent during the 2008,

     2010, and 2012 cycles. No comparable drop occurred for any other racial group.

            285. Asian Americans understand that they are not competing for admission to

     Harvard against the entire applicant pool.        In light of Harvard’s discriminatory

     admissions policies, they are competing only against each other, and all other racial and

     ethnic groups are insulated from competing against high-achieving Asian Americans.

            286. Because Asian Americans congregate at the high end of Harvard’s

     applicant pool, the competition is fierce. This has deterred and continues to deter many

     qualified Asian Americans from applying to Harvard. Harvard’s discriminatory reach

     thus extends far beyond those highly qualified Asian Americans who decide to apply and

     whose applications are treated unfairly in the admissions process.

            287. This discrimination has reached and continues to reach every Asian

     American student who has shied away or will shy away from applying to Harvard out of




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     the well-founded fear that he or she will not successfully make it out of the highly

     competitive Asian American admissions pool and gain admission to Harvard.

     IX.    HARVARD CURRENTLY ENGAGES IN RACIAL BALANCING.

            288.    Not only does Harvard discriminate against Asian Americans, it racially

     balances its entering freshman class to ensure proportional representation of the various

     racial and ethnic groups present in Harvard’s student body.

            289.    Harvard’s system of racial balancing is shown through both direct and

     circumstantial evidence, including statistical studies of Harvard’s admissions decisions.

     This evidence confirms that Harvard is not using racial preference to pursue “critical

     mass” or any other diversity goal the Supreme Court has ever found permissible.

            290.    As shown in Table C, the racial demographics of Harvard’s admitted class

     have remained stable across all racial groups at least over the last 9 years.

                                                      Table C
                       Harvard Admissions (Percentage of Admitted Students by Race/Ethnicity)

                         2014     2013      2012     2011       2010     2009     2008      2007    2006

      African            11.9%    11.5%     10.2%    11.8%      11.3%    10.8%    11.0%     10.7%   10.5%
      American

      Hispanic           13.0%    11.5%     11.2%    12.1%      10.3%    10.9%    9.7%      10.1%   9.8%

      Asian American     19.7%    19.9%     20.7%    17.8%      18.2%    17.6%    18.5%     19.6%   17.7%

      Native             1.9%     2.2%      1.7%     1.9%       2.7%     1.3%     1.3%      1.5%    1.4%
      American

      White and          53.5%    54.9%     56.2%    56.4%      57.5%    59.4%    59.5%     58.1%   60.6%
      Other


            291.    As shown in Table D, the racial demographics of Harvard’s enrolled first-

     year classes also have remained stable across all racial groups throughout the past decade.




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                                                         Table D
                           Harvard Enrollment (Percentage of First Years by Race/Ethnicity)


                             2013   2012   2011   2010       2009   2008   2007   2006   2005   2004   2003


      Nonresident alien      11%    11%    12%    10%        10%    10%    10%    9%     9%     9%     8%


      Hispanic/Latino        10%    9%     10%    9%         9%     7%     8%     8%     7%     9%     8%


      American Indian        0%     0%     0%     0%         1%     1%     1%     1%     1%     1%     1%
      or Alaska Native


      Asian Americans        19%    20%    17%    15%        17%    19%    18%    15%    19%    20%    17%


      Black or African       7%     6%     7%     6%         9%     8%     8%     8%     9%     9%     9%
      American


      Native Hawaiian        0%     0%     0%     0%         0%     0%     0%     0%     0%     0%     0%
      or Other Pacific
      Islander


      White                  43%    45%    45%    44%        40%    41%    42%    44%    47%    47%    50%


      Two or more races      7%     6%     6%     6%         0%     0%     0%     0%     0%     0%     0%


      Race and ethnicity     3%     3%     3%     11%        14%    15%    13%    15%    8%     5%     7%
      unknown


              292.   As shown in Table E, the racial demographics of Harvard’s overall student

     body likewise have remained remarkably stable across all racial groups throughout the

     past decade.




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                                                    Table E
                                 Harvard Enrollment (Percentage of Student Body)

                           2013    2012    2011   2010      2009   2008   2007   2006   2005   2004   2003

     Nonresident alien     11%     11%     11%    10%       10%    10%    9%     10%    8%     8%     7%

     Hispanic/Latino       9%      9%      9%     8%        8%     7%     7%     7%     7%     8%     7%

     American Indian       0%      0%      0%     0%        1%     1%     1%     1%     1%     1%     1%
     or Alaska Native

     Asian Americans       18%     18%     17%    16%       17%    17%    15%    17%    18%    17%    16%

     Black or African      6%      6%      7%     7%        8%     8%     8%     8%     8%     8%     7%
     American

     Native Hawaiian       0%      0%      0%     0%        0%     0%     0%     0%     0%     0%     0%
     or Other Pacific
     Islander

     White                 45%     45%     45%    44%       42%    45%    46%    45%    49%    49%    49%

     Two or more races     6%      5%      5%     3%        0%     0%     0%     0%     0%     0%     0%

     Race and ethnicity    4%      5%      6%     12%       14%    14%    14%    14%    8%     9%     12%
     unknown


             293.       Table C, Table D, and Table E, both individually and collectively,

     demonstrate that Harvard is engaging in racial balancing as there can be no non-

     discriminatory reason justifying such remarkable stability in its overall student body

     across all racial groups over this multi-year period.

             294.       Indeed, Harvard’s admissions and enrollment data tends to demonstrate

     that Harvard is engaging in racial balancing to a statistically significant degree.

             295.       The year-to-year changes in the racial composition of Harvard’s admitted

     and enrolled freshman class also reflect racial balancing as shown by, among other

     things, how Harvard has managed its balance between African Americans and Hispanics,

     and how it has managed its balance between Asians and Non-Hispanic whites.




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            296.       Over the period between 1994 and 2008, African American enrollment has

     remained extraordinarily stable at Harvard, averaging 7.8 percent with a standard

     deviation (calculated by year over the 14-year period) of 0.3 percent.              Hispanic

     enrollment also remained quite stable, averaging 7.4 percent with a standard deviation of

     0.4 percent. This occurred despite the fact that throughout this period, the applicant pool

     of academically strong Hispanic students at Harvard and other elite Ivy League schools

     was substantially larger than the similar pool for African Americans, and the gap became

     larger over time.

            297.       Yet Harvard and its peer Ivy League colleges have consistently admitted

     as many African Americans as Hispanics (if not more), even though this meant using

     substantially larger preferences for African Americans than for Hispanics.          In other

     words, Harvard has manipulated the size of racial preferences to ensure it maintained

     racial balance.

            298.       Over the period between 2003 and 2012, the percentage of Asian

     Americans at Harvard wavered only slightly above and below approximately 17 percent.

     As noted earlier, this is despite the fact that, by 2008, Asian Americans made up over 27

     percent of Harvard’s applicant pool, and approximately 46 percent of applicants with

     academic credentials in the range from which Harvard admits the overwhelming majority

     of students. But during this same period, Harvard’s “non-Hispanic white” representation

     is only slightly declining.

            299.       Given Harvard’s other racial balancing goals, it is obvious that if Harvard

     evaluated Asian Americans and non-Hispanic whites equally, non-Hispanic white

     admissions would drop significantly, possibly to the point where Asian-American




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     enrollment and non-Hispanic white enrollment would be roughly comparable. Although

     this would cause Harvard’s overall level of racial diversity to increase, not decrease,

     Harvard nevertheless continues to use racial balancing to keep white enrollment more

     than twice as high as Asian-American enrollment.

            300.    The minor year-to-year deviations in admissions and enrollment numbers

     demonstrate Harvard’s commitment to maintaining racial stability over any four-year

     enrollment period. In other words, when enrollment of a particular racial or ethnic group

     exceeds or falls short of Harvard’s intended goal, in the next one or two admissions

     cycles, Harvard admits fewer or more applicants of that racial or ethnic group in order to

     balance out the overall student body.

            301.    For example, in 2005, 18 percent of Harvard’s student body was Asian

     American, which was a 16-year high. In response, Harvard admitted an unusually low

     number of Asian Americans in the following admissions cycle (17.7 percent). That

     predictably resulted in an unusually low yield of Asian Americans enrolling at Harvard

     (15.0 percent). Indeed, both the 2006 admissions and enrollment figures for Asian

     Americans were at or near 10-year lows.

            302.    Similarly, in 2012, 6 percent of Harvard’s overall student body was

     African American, which was a 24-year low. In response, Harvard admitted an unusually

     high number of African Americans in the next two admissions cycle (11.5 percent and

     11.9 percent, respectively), which were both record highs. That predictably resulted in an

     usually high yield of African Americans enrolling at Harvard in 2013, which maintained

     an overall enrollment figure in line with the 20-year average, and would be expected to

     result in a similar enrollment level of African Americans in 2014.




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            303.    No factor or criteria for admission—other than racial balancing—could

     explain these admissions patterns and the overall consistency of Harvard’s admissions,

     enrollment, and overall student body figures across all racial groups.

            304.    As the Unz study found, “ethnic enrolment levels which widely diverge

     from academic performance data or applications rates and which remain remarkably

     static over time provide obvious circumstantial evidence for at least a de facto quota

     system.”

     X.     HARVARD HAS AVAILABLE RACE-NEUTRAL ALTERNATIVES
            THAT CAN ACHIEVE STUDENT-BODY DIVERSITY.

            305.    Harvard has a host of race-neutral alternatives that can achieve student

     body diversity without the use of racial classifications, including but not limited to: (a)

     increased utilization of non-race-based preferences; (b) increased use of financial aid,

     scholarships, and recruitment to attract and enroll minority applicants; and (c) elimination

     of admissions policies and practices that operate to the disadvantage of minority

     applicants. Furthermore, eliminating racial preferences at Harvard will alleviate the

     substantial harm these discriminatory policies cause to those minority applicants who

     receive such admissions preference, the Harvard community, and society as a whole.

            A.      Harvard Can Achieve Student Body Diversity Without Using Race As
                    A Factor In Admissions Decisions By Making Greater Use Of Non-
                    Racial Preferences.

            306.    Colleges and universities that have eliminated race-based admissions have

     maintained or increased their student body diversity by placing greater emphasis on

     socioeconomic factors, which often strongly correlate with an applicant’s race but are not

     exclusively reserved for applicants of a particular race or ethnicity. Using socioeconomic




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     preferences thus increases racial diversity and achieves the broader diversity that Harvard

     claims to seek by opening the door of opportunity for poor students of all races.

            307.    In a recent study of ten leading public universities that ended race-based

     preferences, researchers found that seven of these schools maintained or increased their

     enrollment of African-American and Hispanic students by adopting strategies that target

     socioeconomic inequality. See Halley Potter, Transitioning to Race-Neutral Admissions:

     An Overview of Experiences in States Where Affirmative Action Has Been Banned, The

     Future of Affirmative Action (2014).

            308.    For example, the University of Colorado has devised an admissions

     formula that gives a significant preference to students from socioeconomically

     disadvantaged backgrounds. This refined formula takes into consideration numerous

     socioeconomic factors, including single-parent status, parents’ education level, family

     income, native language, the number of dependents in the family, whether the applicant

     attended a rural high school, the percentage of students from the applicant’s high school

     eligible for free or reduced-price lunch, the school-wide student-to-teacher ratio, and the

     size of the twelfth-grade class.

            309.    Under this admissions program, the University of Colorado found not only

     that the socioeconomic diversity of its incoming class increased substantially, but that

     racial and ethnic diversity increased as well. African-American and Hispanic acceptance

     rates to the University of Colorado increased from 56 percent under race-based

     admissions to 65 percent under class-based admissions.         See Matthew N. Gaertner,

     Advancing College Access with Class-Based Affirmative Action, The Future of

     Affirmative Action (2014).




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            310.    Recently, a national simulation was conducted to determine whether the

     use of socioeconomic preferences could achieve student body diversity without the use of

     racial preferences at elite universities. See Anthony P. Carnevale, Stephen J. Rose, Jeff

     Strohl, Achieving Racial and Economic Diversity with Race-Blind Admissions Policy,

     The Future of Affirmative Action (2014).         The study simulated various admissions

     models at the top-rated 193 colleges and universities “because the dialogue about

     affirmative action often implies that it is access to these schools and the opportunities

     they provide in business, social and career advancement that truly matters.” The study

     examined, among other things, the effect of substituting socioeconomic preference for

     race-based preferences at America’s elite college and universities using test scores and

     high-school grades as measures of merit.

            311.    The national simulation ultimately found that “it is possible to achieve

     both racial and economic diversity in selective colleges without using race per se as an

     admissions criterion” and, importantly, that it could be achieved consistent with the

     understanding “that affirmative action models ought to promote racial diversity as an

     educational benefit instead of promoting racial diversity for its own sake.”

            312.    Another study found that increased focus on parental education and

     wealth—as opposed to income—as a measure of socioeconomic status also can help

     achieve student body diversity without the use of racial preferences. See Dalton Conley,

     The Why, What, and How of Class-Based Admissions Policy, The Future of Affirmative

     Action (2014). The study found that “the most important factor in predicting individual

     academic success is the education of a parent” and the “economic factor” that mattered

     most was “parental net worth (that is, wealth) and not income.”            Indeed, “wealth




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     conceptually captures the legacy of historical inequalities of opportunity better than

     aspects of class that cannot be literally transferred directly from one generation to the

     next by signing a check (or a deed or a will).” While African Americans make on the

     order of 60 to 70 percent of what whites make in income, the median African-American

     family wealth is just 10 percent of white family wealth.

            313.    Affording a community-based preference is another means of achieving

     student body diversity by admitting more socioeconomically disadvantaged students. See

     Sheryll Cashin, Place not Race: A New Vision of Opportunity in America (2014).

     African Americans and Hispanics are much more likely to live in neighborhoods with

     concentrated poverty than whites. See John R. Logan, Separate and Unequal: The

     Neighborhood Gap for Blacks, Hispanics, and Asians in Metropolitan America (2011),

     Table 2.

            314.    Universities have used this community-based homogeneity to promote

     racial and ethnic diversity through race-neutral means. For example, Texas, California,

     and Florida have adopted “percent plans” that guarantee admission to state universities

     for top graduates (based on grades) from each high school in the state. These percentage

     plans have been successful in promoting community, socioeconomic, and racial diversity.

            315.    In addition to statewide percentage plans, a university can achieve student

     body diversity by granting a preference within their existing admissions framework

     utilizing other community-based metrics, such as an applicant’s zip code. See Danielle

     Allen, Talent is Everywhere: Using Zip Codes and Merit to Enhance Diversity, The

     Future of Affirmative Action (2014).




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            316.    Studies show that students admitted based on socioeconomic as opposed

     to racial criteria regularly outperform all other admitted students. These students drop

     out at lower rates, graduate in shorter time periods, and receive better grades.

            317.    The Espenshade-Radford study found that selective private institutions use

     racial preferences that are two to three times as large as their socioeconomic preferences.

            318.     This failure to give weight to socioeconomic preferences is exemplified

     by Harvard, particularly given the lack of socioeconomic diversity in the student body as

     compared to racial diversity.

            319.    Measured in terms of those students receiving federal Pell Grants, which

     are awarded to students coming from low-income families, Harvard lags far behind other

     schools. The percentage of students at Harvard who receive Pell Grants has ranged in

     recent years from 11 percent to 19 percent. In comparison, universities that employ race-

     neutral admissions had far greater numbers of Pell Grant recipients, including UCLA (35

     percent), UC Berkeley (33 percent), and the University of Florida (30 percent). 2014

     National Universities Rankings – Social Mobility, Washington Monthly (2014).

            320.    According to a survey of the 2014 freshman class that The Harvard

     Crimson conducted, 14 percent reported annual family income above $500,000 and

     another 15 percent came from families making more than $250,000 per year. In contrast,

     only 20 percent reported incomes less than $65,000. Taking these statistics at face value,

     they show that a high school student from the top “1 percent” of the income distribution

     is approximately 35 times more likely to attend Harvard than one from the bottom 50

     percent.




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            321.    According to former Harvard president Lawrence Summers, only ten

     percent of students at selective colleges and universities, including Harvard, come from

     the bottom half of the income scale. See Harvard University President Lawrence H.

     Summers Commencement Address (2004).

            322.    By contrast, Harvard places far greater weight on an applicant’s race—

     regardless of his or her socioeconomic status or the community of origin.

            323.    By increasing the weight given to an applicant’s socioeconomic status

     and/or community of origin, Harvard could achieve student body diversity without

     resorting to the disfavored tool of racial preferences.

            B.      Harvard Can Achieve Student Body Diversity Without Using Race As
                    A Factor In Admissions Decisions By Making Greater Use Of
                    Financial Aid And Scholarships To Attract Minority Candidates.

            324.    Relying on socioeconomic instead of racial preferences at the admissions

     stage is the first step. But Harvard needs to ensure that those underprivileged minorities

     that benefit from socioeconomic preferences are in a position to accept the offer of

     admission and enroll at Harvard. To that end, Harvard can achieve student body diversity

     by increasing its use of financial aid and scholarships.

            325.    Colleges and universities that have eliminated racial preferences have

     maintained or increased student body diversity by offering more financial aid to

     socioeconomically disadvantaged students. For example, the University of California

     system, which does not use race-based preferences, covers system-wide tuition for

     students from families with incomes below $80,000.         The University of California

     devotes one-third of tuition revenue to financial aid.

            326.    Harvard, in contrast, only covers the tuition of students from families with

     incomes below $65,000. This is a trivial use of Harvard’s vast economic resources.


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     Harvard’s $36.4 billion endowment is the largest in the nation; it exceeds the gross

     domestic product of over 100 nations. Yet it costs students $43,938 per year in tuition

     alone, and $58,607 overall per year, to attend Harvard.

             327.    Harvard has the economic resources to increase the coverage of full tuition

     far beyond the current $65,000 threshold.          Doing so would make it possible for

     underprivileged minorities, especially those in the lower middle class and those who may

     have slightly higher income levels but less wealth, admitted to Harvard through the

     increased use of socioeconomic preferences (as opposed to affluent minorities currently

     admitted due to racial preferences) to be in a position to accept an offer of admission and

     enroll at Harvard.

             C.      Harvard Can Achieve Student Body Diversity Without Using Race As
                     A Factor In Admissions Decisions Through Increased Recruitment
                     And Other Steps Designed To Encourage More Qualified Minority
                     Students To Apply For Admission.

             328.    Harvard can achieve student body diversity by bringing more highly

     qualified, socioeconomically disadvantaged minorities into its applicant pool.

             329.    Across the country, there are tens of thousands of high-achieving,

     socioeconomically disadvantaged minorities who fail to apply to selective schools,

     including Harvard, at which they would likely be admitted and at which they would

     enroll if offered sufficient financial aid.

             330.    One study found that between 25,000 and 35,000 socioeconomically

     disadvantaged high school seniors obtain an SAT or ACT in the 90th percentile or higher

     and have a GPA of A- or better. Nearly 6 percent of this group is African American and

     nearly 8 percent is Hispanic. A great many of these socioeconomically disadvantaged

     students “undermatch” by applying to and enrolling at colleges and universities less



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     selective than the ones to which they could have been admitted. See Caroline Hoxby,

     Christopher Avery, The Missing “One-Offs”: The Hidden Supply of High-Achieving,

     Low-Income Students, Brookings Papers on Economic Activity (Spring 2013).

            331.    The “undermatch” problem is a serious issue in the Ivy League. Among

     the highly selective Ivy League schools studied by Dr. Sander and Ms. Uppala, the

     applicant pools of these schools included, on average, less than 20 percent of the

     socioeconomically disadvantaged students in the country with SAT scores above 2100.

     The rate is even lower for high-scoring, socioeconomically disadvantaged Asian

     Americans, in which less than 18 percent of such students are, on average, in the

     applicant pools of the highly selective Ivy League schools.

            332.    Universities with race-neutral admissions have increased their student

     body diversity by improving recruitment of these socioeconomically disadvantaged, high-

     achieving minority students. For example, after race-based admissions were eliminated

     in Texas, the University of Texas at Austin increased its student body diversity by

     implementing numerous programs designed to recruit students from underrepresented

     regions and high schools, including “Longhorn Game Weekends,” which focus on

     specific geographic regions, and “Longhorn for a Day,” which reaches out to students in

     underrepresented high schools.

            333.    Furthermore, a study found that simply mailing a well-designed, targeted

     brochure to high-achieving, socioeconomically disadvantaged students could be

     instrumental in causing them to apply to selective colleges and universities. See Sheryll

     Cashin, Place not Race: A New Vision of Opportunity in America 49 (2014).




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            334.   Universities also have achieved student body diversity by aggressively

     recruiting high-achieving community college students, who are more likely to be African

     American or Hispanic. For example, in 1997, after California banned racial preferences,

     the University of California substantially increased its recruitment and enrollment of

     community college students. As a result of the University of California’s efforts, by

     2012, about 29 percent of new students enrolling in the University of California system

     were transfers from community colleges.         See Preparing California for Its Future:

     Enhancing Community College Student Transfer to the University of California (2014).

            335.   Harvard does little to recruit high-achieving, socioeconomically

     disadvantaged minority students or high-achieving community college students.

            336.   Harvard focuses its recruitment in parts of the country with small numbers

     of socioeconomically disadvantaged achievers and neglects regions with a significant

     number of such students. For example, Harvard recruits heavily in New England, which

     has only 3.5 percent of low-income high achievers nationwide, yet neglects Midwest and

     Rocky Mountain states, which produce 21.2 percent of these students.

            337.   This failure to recruit socioeconomically disadvantaged students is

     reflected in Harvard’s applicant pool. Although there are more than 10,000 high schools

     in the country that have students with the credentials to be admitted to Harvard, only a

     small fraction of these schools have students who ultimately apply to Harvard.

            338.   In addition, community college transfer students are a miniscule

     percentage of Harvard’s student body. Each year, Harvard accepts fewer than three

     students from community colleges across the country.




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            339.    Harvard officials have flatly conceded that they make little effort to recruit

     students from community colleges and other nontraditional educational backgrounds.

     See Arianna Markel, Harvard Lags in Community College Recruitment, The Harvard

     Crimson (Dec. 12, 2007).

            340.    Harvard could achieve its student body diversity without the use of racial

     preferences by improving its recruitment of socioeconomically disadvantaged, high-

     achieving minorities, and community college students.

            D.      Harvard Can Achieve Student Body Diversity Without Using Race As
                    A Factor In Admissions Decisions Through The Elimination Of
                    Admissions Policies And Practices That Harm Minority Applicants.

            341.    Harvard employs a series of admissions practices and policies that make it

     more difficult for socioeconomically disadvantaged minorities to gain admission.

     Eliminating these practices and policies would allow Harvard to achieve student body

     diversity without using racial preferences.

            342.    Harvard grants an admissions preference to “legacy” applicants.

            343.    The acceptance rate for legacy applicants to Harvard is about 30 percent,

     which is roughly five times the rate at which all other applicants are admitted to Harvard.

            344.    At most universities throughout the country, including Harvard, alumni

     children are less likely to be socioeconomically disadvantaged or racial minorities than

     the rest of the student body. Thus, colleges and universities, like Harvard, that grant

     admissions preferences to legacies give a competitive advantage to mainly white, wealthy

     applicants, while undermining the chances for admission of socioeconomically

     disadvantaged and minority applicants. See John Brittain and Eric L. Bloom, Admitting

     the Truth: The Effect of Affirmative Action, Legacy Preferences, and the Meritocratic




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     Ideal on Students of Color in College Admissions, Affirmative Action for the Rich

     (2010).

               345.   As a consequence, eliminating legacy preferences in conjunction with

     other race-neutral admissions policies can achieve student body diversity.      Several

     universities, including Texas A&M University, the University of Georgia, and the

     University of California, have increased their student body diversity by ending their

     practice of favoring legacies in the admissions process in conjunction with the

     elimination of racial preferences.

               346.   Furthermore, one study found that eliminating legacy preferences in

     combination with other race-neutral admissions criteria could more than double African-

     American and Hispanic enrollment and more than triple the enrollment of

     socioeconomically disadvantaged students. See Anthony P. Carnevale, Stephen J. Rose,

     Jeff Strohl, Achieving Racial and Economic Diversity with Race-Blind Admissions

     Policy, The Future of Affirmative Action (2014).

               347.   Harvard can achieve student body diversity without using racial

     preferences by eliminating legacy admissions preferences in conjunction with other race-

     neutral measures.

               348.   Eliminating legacy preferences is a workable race-neutral strategy.

     Research finds that the existence of legacy preferences does not increase alumni

     donations to an institution.    See Chad Coffman, Tara O’Neil, and Brian Starr, An

     Empirical Analysis of Legacy Preferences on Alumni Giving at Top Universities,

     Affirmative Action for the Rich (2010).




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            349.    Harvard also grants admissions preferences to non-legacy students whose

     parents make significant donations to Harvard, notwithstanding its $36.4 billion

     endowment.

            350.    For example, a wealthy New Jersey real estate developer who did not

     attend Harvard pledged $2.5 million to Harvard in 1998. That same year, his son applied

     to Harvard, even though he did not take demanding classes in high school and his test

     scores were below Ivy League standards. His son’s high school advisors were “surprised

     when he applied to Harvard—and dismayed when he was admitted.”

            351.    As one of his advisors explained, “[t]here was no way anybody in the

     administrative office of the school thought he would on the merits get into Harvard. His

     GPA did not warrant it, his SAT scores did not warrant it. We thought for sure, there was

     no way this was going to happen. Then, lo and behold, [he] was accepted. It was a little

     bit disappointing because there were at the time other kids we thought should really get in

     on the merits, and they did not.”

            352.    Minority students are far less likely to be children of wealthy donors.

     Thus, colleges and universities, like Harvard, that grant admissions preferences to

     children of wealthy donors give a competitive advantage to mainly white applicants while

     undermining the chances for admission of minority applicants.

            353.    Harvard’s preferences for legacies and children of wealthy donors often

     operate in tandem to the detriment of minority applicants. For example, one applicant,

     who was a fifth-generation Harvard legacy, scored 1440 on her SATs, which is below

     Harvard’s average, and ranked in the second quartile her high school class. Before she

     applied to Harvard, her father donated $1 million to the university and pledged an




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     additional $5 million in future years. Shortly after her junior year, the applicant’s father

     arranged for her to meet the Dean of Admissions, William Fitzsimmons.              She was

     admitted to Harvard the following year.

            354.    When asked whether it was fair that she was admitted, she stated that

     legacy preferences are a “valid thing for a college to do. Any college has to be careful

     about the students it lets in from a social perspective. If you let in too many of any one

     group, it can affect social cohesiveness. At one time, Harvard had too many Asian

     American students…. It’s important to Harvard to have people who know what it means

     to work hard, make good friends, and go out at night. A lot more alumni children are

     well-rounded kids, probably because they come from more stable families.”

            355.    Harvard can achieve student body diversity without using racial

     preferences by eliminating admissions preferences for children of wealthy donors, both

     legacies and non-legacies, in conjunction with other race-neutral measures.

            356.    Harvard also operates a unique form of admissions known as the “Z-list.”

     The Z-list is an admissions process under which Harvard admits a select group of

     students on the condition that they take a year off before enrolling in Harvard.

            357.    Harvard admits between 20 and 50 students through the Z-list every year.

            358.    Harvard principally uses the Z-list to admit legacies and children of

     affluent families who cannot gain admission through the ordinary course and who can

     afford to take a year off before enrolling in college.

            359.    In 2010, The Harvard Crimson interviewed 28 students admitted under the

     Z-list. Of these students, 18 were children of Harvard alumni and all but four received no

     financial aid from Harvard.




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            360.    Students admitted through the Z-list are overwhelmingly wealthy and

     white, and have a worse academic record than the rest of the student body.

            361.    For example, in 2006, Harvard used the Z-list to admit the granddaughter

     of a Harvard alumnus who had endowed a professorship in computer science, even

     though she had inferior admissions credentials. By contrast, one of her high school

     classmates, Jennifer Soo Hoo, who is of Chinese descent, had comparatively outstanding

     credentials: she was a Cum Laude Society member, an Advance Placement Scholar, a

     National Merit Scholar, an all-conference center back on the soccer team, and scored a 34

     out of 36 on the ACT. Jennifer was rejected by every Ivy League school to which she

     applied.

            362.    Harvard can achieve student body diversity without using racial

     preferences by eliminating Z-list admissions in conjunction with other race-neutral

     measures.

            363.    Finally, Harvard admits applicants through an early admission program.

     Early admissions is a practice in which schools allow students to submit their application

     in the early Fall if they apply to only one school or promise to attend the school if

     admitted.

            364.    Early admission programs, like Harvard’s program, usually benefit

     wealthier and better-informed students because these students have the resources to

     submit their application early and do not need to hold out for the prospect of financial

     aid. See Justin Pope, Harvard Drops Early Admissions, Saying They Favor Wealthier

     Students Over Minorities, Poor, Associated Press (Sept. 12, 2006).




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            365.    By contrast, socioeconomically disadvantaged students and minorities face

     a disadvantage under early admission programs because they often receive inadequate

     information and counseling and lack the economic resources to commit to a school so

     early in the process.

            366.    Because early admissions undermine the chances of socioeconomically

     disadvantaged and minority applicants, in 2006, Harvard terminated this program.

     According to Harvard’s then-President Derek Bok, “We think this will produce a fairer

     process because the existing process has been shown to advantage those who are already

     advantaged.”

            367.    Similarly, Dean of Admissions William Fitzsimmons supported ending

     early admissions because “[t]here are lots of very talented students out there from poor

     and moderate-income backgrounds who have been discouraged by this whole hocus-

     pocus of early admissions.”

            368.    Harvard reinstated early admissions in 2011. The reintroduction of early

     admissions has again hurt the ability of socioeconomically disadvantaged and minority

     students to apply and be admitted to Harvard.

            369.    Harvard can achieve student body diversity without using racial

     preferences by eliminating its early admission program in conjunction with other race-

     neutral measures.

            E.      Achieving Student Body Diversity Through Race-Neutral Means
                    Eliminates The Heavy Cost Imposed By The Use Of Racial
                    Preferences.

            370.    Any assessment of the feasibility of race-neutral alternatives must also

     take into account the heavy costs of not employing them. The costs of continuing to use




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     racial preferences, when workable race-neutral alternatives exist, are high from both a

     legal and a practical perspective.

            371.    As a legal matter, “[d]istinctions between citizens solely because of their

     ancestry are by their very nature odious to a free people, and therefore are contrary to our

     traditions and hence constitutionally suspect.” Fisher v. University of Texas at Austin,

     133 S. Ct. 2411, 2418 (2013) (citations and quotations omitted).

            372.    As a result, the Fourteenth Amendment, and therefore Title VI, “forbids

     the use even of narrowly drawn racial classifications except as a last resort.” Croson, 488

     U.S. at 519 (Kennedy, J., concurring in part and concurring in the judgment).

            373.     Harvard’s practice of labeling all applicants according to broad racial

     categories illustrates why such classifications are pernicious and always create the

     “danger that a racial classification is merely the product of unthinking stereotypes or a

     form of racial politics.” Croson, 488 U.S. at 493.

            374.    These racial categories lump together students in categories such as

     “African American” or “Hispanic” or “Asian American,” even though they come from

     vastly different cultures, experiences, and backgrounds.

            375.    For example, Harvard’s category of “Asian Americans” comprises

     roughly 60 percent of the world’s population, including individuals of Chinese, Japanese,

     Korean, Vietnamese, Cambodian, Hmong, and Indian descent.

            376.    While many Asian Americans have been in the United States for

     generations, others are recent immigrants or children of immigrants.          Some Asian

     Americans came to the United States to escape communism, authoritarianism, war, and




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     poverty, while others simply sought out greater opportunities. Some Asian Americans

     come from highly educated families, but many others do not.

            377.    Asian Americans also have a wide range of religious beliefs, including

     Christianity, Islam, Buddhism, Judaism, Hinduism and many others. Some come from

     cultures that aggressively promote education, while many others come from cultures that

     take a less demanding approach.

            378.    Thus, for example, Indian-American students are different from Japanese-

     American students; Vietnamese-American students are different from Chinese-American

     students; and students from Mainland China, Hong Kong, and Taiwan all have unique

     perspectives and cultural experiences.

            379.    Given this diversity, it is lamentable for Harvard to lump all Asian

     Americans together in the admissions process. Yet this categorization is the inevitable

     byproduct of using group-based racial classifications instead of employing race-neutral

     alternatives that are able to account for the vast differences among applicants.

            380.    Racial classifications also have a stigmatizing effect on the supposed

     beneficiaries of these policies. Irrespective of whether an individual African-American

     or Hispanic applicant is admitted to Harvard because of a racial preference, so long as

     racial preferences exist, it will often be assumed that race is the reason for the applicant’s

     admission to the school. This stigma can have a devastating effect on the psyche of

     impressionable students.

            381.    For example, according to one African American who attended an elite

     liberal arts college, upon arriving at school, “I was immediately stereotyped and put into

     a box because I was African-American. And that made it harder to perform. . . . There




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     was a general feeling that all blacks on campus were there either because they were

     athletes or they came through a minority-recruitment program and might not really

     belong there.” Shaken by the experience, the student dropped out after his freshman

     year.

             382.   Harvard can eliminate the harmful effects these unfair stereotypes cause

     by using race-neutral alternatives.

             383.   Finally, the “mismatch effect” of racial preferences far too frequently put

     the supposed beneficiaries of race-based admissions policies in a position where they

     cannot succeed academically in order to fulfill the university’s social-engineering vision.

             384.    This “mismatch” effect happens when a school employs such a large

     admissions preference that the student is academically damaged in a variety of ways by

     being placed in an academic environment where most of the student’s peers have

     substantially stronger levels of academic preparation.

             385.   For example, a student who would flourish at a less elite school instead

     finds himself or herself at Harvard, where the professors are not teaching at a pace

     designed for him or her.      Instead, they are teaching to the “middle” of the class,

     introducing terms and concepts at a speed that is unnerving even to the best-prepared

     student.

             386.   The student who is underprepared relative to others in that class falls

     behind from the start and becomes increasingly lost as the professor and classmates race

     ahead. The student’s grades on his or her first exams or papers put him or her at the

     bottom of the class.    Worse, the experience may well induce panic and self-doubt,




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     making learning even more difficult, thus creating a vicious cycle that only exacerbates

     the problem.

            387.    The “mismatch effect” has been documented in dozens of studies. See,

     e.g., Peter Arcidiacono, Esteban M. Aucejo, and Ken Spenner, What Happens After

     Enrollment? An Analysis of the Time Path of Racial Differences in GPA and Major

     Choice (2011); U.S. Commission on Civil Rights, Encouraging Minority Students to

     Pursue Science, Technology, Engineering and Math Careers, Briefing Report (October

     2010); Richard Sander and Roger Bolus, Do Credential Gaps in College Reduce the

     Number of Minority Science Graduates? (2009); Richard Sander, A Systemic Analysis of

     Affirmative Action in American Law Schools, 57 Stan. L. Rev. 367 (2004); Stephen Cole

     and Elinor Barber, Increasing Faculty Diversity (2003); Rogers Elliott, A. Christopher

     Strenta, Russell Adair, Michael Matier and Jannah Scott, The Role of Ethnicity in

     Choosing and Leaving Science in Highly Selective Institutions, 37 Research in Higher

     Education 681 (1996).

            388.    As this research demonstrates, African-American college freshmen are

     more likely to aspire to science or engineering careers than are white freshmen, but

     mismatch causes African Americans to abandon these fields at twice the rate of whites.

            389.    As a consequence, African Americans who start college interested in

     pursuing a doctorate and an academic career are twice as likely to be derailed from this

     path if they attend a school where they are mismatched.

            390.    Furthermore, about half of African-American college students rank in the

     bottom 20 percent of their classes.




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            391.    Mismatch also creates social problems on campus. The academic research

     shows that interracial friendships are more likely to form among students with relatively

     similar levels of academic preparation; thus, African Americans and Hispanics are more

     socially integrated on campuses where they are less academically mismatched.

            392.    Harvard has and is continuing to experience the problems associated with

     the “mismatch” effect as documented in major, unrebutted empirical studies that either

     included Harvard or included studies of close peer institutions.

            393.    “Academic mismatch” has been documented at Harvard by sociologists

     Stephen Cole and Elinor Barber.       See Stephen Cole and Elinor Barber, Increasing

     Faculty Diversity (2003). Cole and Barber undertook their research in large part at the

     urging of Harvard President Neil Rudenstein, and the Council of Ivy League Presidents

     financially supported their work. The purpose of the study was to understand why there

     were so few underrepresented minorities—particularly African Americans—in the

     academic pipeline leading to university faculty positions.

            394.    Cole and Barber found that a prime cause of the constrained pipeline was

     academic mismatch.      Promising African American and Hispanic students who were

     interested in academic careers sought to go to selective colleges. Through the operation

     of racial preferences, these students often found themselves being admitted and courted

     by super-elite colleges, and often unwittingly found themselves at schools where their

     level of academic preparation was far below the median. In these environments, the

     students survived but did not flourish. Their grades tended to be well below the median,

     and in large numbers they soured on the prospect of pursuing a career in academia. The

     study found that otherwise similar students who went to less elite schools—such as




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     flagship state universities—performed better and retained their interest in academic

     careers at much higher rates.

            395.    Harvard also has a documented “mismatch” problem in the sciences. In

     2004, two psychologists at the University of Virginia published a peer-reviewed study of

     minority attrition in the sciences. See Frederick L. Smyth and John J. McArdle, Ethnic

     and Gender Differences in Science Graduation at Selective Colleges With Implications

     For Admission Policy and College Choice, Research In Higher Education, Vol. 45, No. 4

     (June 2003). These scholars gained permission to use the College and Beyond dataset

     assembled by the Mellon Foundation. This dataset, which included comprehensive data

     from several Ivy League colleges (Columbia, Princeton, and Yale) as well as

     approximately twenty less selective schools, served as the basis for the well-known study

     of affirmative action, The Shape of the River (1998).

            396.    Smyth and McArdle examined what factors affected the success of

     students in science, technology, engineering, and math (“STEM”) fields of study. They

     found that a critical factor was a student’s academic preparation relative to her peers.

     Moreover, they found that this effect was essentially identical for white, African

     American, and Hispanic students. In all cases, students who attended a school where

     their level of academic preparation was substantially lower than those of their peers were

     far more likely to drop out of STEM fields as compared to identical students who

     attended schools where their relative peer position was higher. The effect was so large

     that Smyth and McArdle advised high school counselors to take potential mismatch into

     account in helping students understand the pros and cons of attending “reach” schools.




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            397.    In 1996, a group of researchers at Dartmouth University, led by

     Dartmouth psychologist Rogers Elliott, published a peer-reviewed study that examined

     rates of STEM attrition at four Ivy League colleges. See Rogers Elliott, A. Christopher

     Strenta, Russell Adair, Michael Matier and Jannah Scott, The Role of Ethnicity in

     Choosing and Leaving Science in Highly Selective Institutions, 37 Research in Higher

     Education 681 (1996). They found that although African-American freshmen aspired to

     STEM majors at roughly the same rate as other students, only about 10 percent of

     African-American aspirants actually achieved bachelor degrees in STEM fields. Many of

     these students switched to majors in the humanities and social sciences; some failed to

     graduate at all. The study found that a principal reason for the high attrition rate of

     African Americans was their relative position among a group of peers who generally had

     much higher levels of academic preparation, and could thus compete effectively in the

     demanding, sequential, rigorously graded STEM curricula.

            398.    Harvard has disregarded the “mismatch effect” that is harming the many

     African American and Hispanic students who are admitted to and enroll at Harvard

     because of its large admissions preference.

            399.    Harvard can eliminate this harmful mismatch and allow students to excel

     at schools for which they are most prepared by eliminating the use of racial preferences

     and employing race-neutral alternatives that bring high-performing, socioeconomically

     disadvantaged minorities into the applicant pool.

     XI.    GOVERNING LAW

            400.    Title VI of the Civil Rights Act of 1964 provides: “No person in the

     United States shall, on the ground of race, color, or national origin, be excluded from




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     participation in, be denied the benefits of, or be subjected to discrimination under any

     program or activity receiving Federal financial assistance.” 42 U.S.C. § 2000d.

            401.    Under Title VI, “the term ‘program or activity’ and the term ‘program’

     mean all of the operations … of a college, university, or other postsecondary institution,

     or a public system of higher education … any part of which is extended Federal financial

     assistance.” 42 U.S.C. § 2000d-4a.

            402.    An institution that accepts federal funds violates Title VI when it engages

     in racial or ethnic discrimination that violates the Equal Protection Clause of the

     Fourteenth Amendment of the United States Constitution. See Gratz v. Bollinger, 539

     U.S. 244, 257 n.23 (2003) (“We have explained that discrimination that violates the

     Equal Protection Clause of the Fourteenth Amendment committed by an institution that

     accepts federal funds also constitutes a violation of Title VI.”) (citing Alexander v.

     Sandoval, 532 U.S. 275, 281 (2001)).

            403.    The Fourteenth Amendment provides, in relevant part, that no person shall

     be denied “the equal protection of the laws.” The “central mandate” of equal protection

     is “racial neutrality” by the government or institution subject to the Fourteenth

     Amendment. Miller v. Johnson, 515 U.S. 900, 904 (1995). “Whenever the government

     treats any person unequally because of his or her race, that person has suffered an injury

     that falls squarely within the language and spirit of the Constitution’s guarantee of equal

     protection.” Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 229-30 (2000).

            404.    “Distinctions between citizens solely because of their ancestry are by their

     very nature odious to a free people, and therefore are contrary to our traditions and hence

     constitutionally suspect.” Fisher, 133 S. Ct. at 2419 (citations and quotations omitted).




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     Thus, “any official action that treats a person differently on account of race or ethnic

     origin is inherently suspect.” Id. (citation and quotations omitted). In other words,

     “because racial classifications so seldom provide a relevant basis for disparate treatment,

     the Equal Protection Clause demands that racial classifications be subjected to the most

     rigid scrutiny.” Id. (citations and quotations omitted).

            405.    “[A]ll racial classifications … must be analyzed by a reviewing court

     under strict scrutiny.”   Adarand, 515 U.S. at 227.        “Strict scrutiny is a searching

     examination, and it is the government [or institution subject to the Fourteenth

     Amendment through Title VI] that bears the burden to prove that the reasons for any

     racial classification are clearly identified and unquestionably legitimate.” Fisher, 133 S.

     Ct. at 2419 (citations and quotations omitted). Strict scrutiny thus requires a “detailed

     judicial inquiry to ensure that the personal right to equal protection of the laws has not

     been infringed.” Adarand, 515 U.S. at 227.

            406.    In particular, strict scrutiny requires a “detailed examination, both as to

     ends and to means.” Adarand, 515 U.S. at 236. When those governmental or other

     institutions subject to the Fourteenth Amendment directly or through Title VI implement

     policies and practices that “touch upon an individual’s race or ethnic background, he is

     entitled to a judicial determination that the burden he is asked to bear on that basis is

     precisely tailored to serve a compelling governmental interest.” Fisher, 133 S. Ct. at

     2417 (citations and quotations omitted).

            407.    Racial “classifications are constitutional only if they are narrowly tailored

     to further compelling governmental interests.” Grutter, 539 U.S. at 326.




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            408.    “Strict scrutiny requires the university to demonstrate with clarity that its

     purpose or interest is both constitutionally permissible and substantial, and that its use of

     the classification is necessary to accomplish that purpose.” Fisher, 133 S. Ct. at 2418.

            409.    To meet strict scrutiny, the end must be “compelling”—not merely

     legitimate or important. To be narrowly tailored, “the means chosen” must “fit” the

     unmet compelling interest “so closely that there is little or no possibility that the motive

     for the classification was illegitimate racial prejudice or stereotype.” Croson, 488 U.S. at

     493 (citations and quotations omitted). In other words, “racial classifications, however,

     compelling their goals, are potentially so dangerous that they may be employed no more

     broadly than the interest demands.” Grutter, 539 U.S. at 342.

            410.    “To survive strict scrutiny,” moreover, the institution “must do more than

     assert a compelling state interest—it must demonstrate that its law is necessary to serve

     the asserted interest.” Burson v. Freeman, 504 U.S. 191, 199 (1992). The institution

     must establish the necessity of using race by a “strong basis in evidence” because “the

     mere recitation” of a compelling interest is “not an automatic shield which protects

     against any inquiry” into the justification for race-based action.” Croson, 488 U.S. at

     495, 500.

            411.    Strict scrutiny “forbids the use even of narrowly drawn racial

     classifications except as a last resort.” Id. at 519 (Kennedy, J., concurring in part and

     concurring in the judgment).

            412.    An institution’s use of race or ethnicity that is in any way motivated by

     “prejudice or stereotype” against a particular group violates the Fourteenth Amendment

     and therefore violates Title VI. Croson, 488 U.S. at 493. “[T]he Equal Protection Clause




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     prohibits a State [or institution subject to the Fourteenth Amendment through Title VI]

     from taking any action based on crude, inaccurate racial stereotypes.”             Batson v.

     Kentucky, 476 U.S. 79, 104 (1986); see also Thomas v. Eastman Kodak Co., 183 F.3d 38,

     42 (1st Cir. 1999) (“Title VII’s prohibition against ‘disparate treatment because of race’

     extends both to employer acts based on conscious racial animus and to employer

     decisions that are based on stereotyped thinking or other forms of less conscious bias.”).

             413.    In addition to direct evidence of discrimination, racial “prejudice or

     stereotype” may be proven through circumstantial evidence. See Village of Arlington

     Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977) (“Determining whether

     invidious discriminatory purpose was a motivating factor demands a sensitive inquiry

     into such circumstantial and direct evidence of intent as may be available.”). The

     Supreme Court has identified five, non-exhaustive “subjects of proper inquiry in

     determining whether racially discriminatory intent existed” based on circumstantial

     evidence. Id. at 268.

             414.   First, the Court looks to whether the policy, notwithstanding its

     purportedly neutral rationale, “bears more heavily on one race than another. . . .

     Sometimes a clear pattern, unexplainable on grounds other than race, emerges from the

     effect of the state action even when the governing legislation appears neutral on its face.”

     Id. at 266.

             415.   Second, the Court looks to “the historical background” of the policy,

     “particularly if it reveals a series of official actions taken for invidious purposes.” Id. at

     267.




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            416.     Third, “[t]he specific sequence of events leading up the challenged

     decision also may shed some light on the decisionmaker’s purposes.” Id.

            417.     Fourth, “[d]epartures from the normal procedural sequence also might

     afford evidence that improper purposes are playing a role. Substantive departures too

     may be relevant, particularly if the factors usually considered important by the

     decisionmaker strongly favor a decision contrary to the one reached.” Id.

            418.     Fifth, and last, “[t]he legislative or administrative history may be highly

     relevant, especially where there are contemporary statements by members of the

     decisionmaking body, minutes of its meetings, or reports.” Id. at 268.

            419.     Even if not motivated by prejudice or stereotype, a racial classification

     violates the Fourteenth Amendment and therefore violates Title VI if it is a quota. In the

     educational setting, then, “universities cannot establish quotas for members of certain

     racial groups or put members of those groups on separate admissions tracks. Nor can

     universities insulate applicants who belong to certain racial or ethnic groups from the

     competition for admission.” Grutter, 539 U.S. at 334 (citation omitted).

            420.     Moreover, a university’s policy violates the Fourteenth Amendment and

     therefore     violates   Title   VI    if   it        amounts   to   “racial balancing,   which

     is patently unconstitutional.” Id. at 329. Racial balancing is a program designed “to

     assure within [the school’s] student body some specified percentage of a particular group

     merely because of its race or ethnic origin.”            Id. (citations and quotation omitted).

     “[P]roportional representation” is never a constitutional “rationale for programs of

     preferential treatment.” Id. at 343.




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             421.     The only interest in using racial preferences in higher education that the

      Supreme Court has accepted as “compelling” is the interest “in obtaining the educational

      benefits that flow from a diverse student body.” Grutter, 539 U.S. at 343. Redressing

      past discrimination does “not serve as a compelling interest, because a university’s broad

      mission of education is incompatible with making the judicial, legislative, or

      administrative findings of constitutional or statutory violations necessary to justify

      remedial racial classification.” Fisher, 133 S. Ct. at 2417 (citations and quotations

      omitted).

             422.    The interest in student body diversity the Supreme Court has found

      compelling “is not an interest in simply ethnic diversity, in which a specified percentage

      of the student body is in effect guaranteed to be members of selected ethnic groups, with

      the remaining percentage an undifferentiated aggregation of students.” Fisher, 133 S. Ct.

      at 2418 (citation and quotations omitted). “[C]ritical mass is defined by reference to the

      educational benefits that diversity is designed to produce.” Grutter, 539 U.S. at 330.

             423.    Even in the pursuit of critical mass, the Supreme Court has permitted race

      to be used only as a “plus” factor in admissions decisions. Id. at 333. “[I]t remains at all

      times the University’s obligation to demonstrate, and the Judiciary’s obligations to

      determine, that admissions processes ‘ensure that each applicant is evaluated as an

      individual and not in a way that makes an applicant’s race or ethnicity the defining

      feature of his or her application.’” Fisher, 133 S. Ct. at 2418 (quoting Grutter, 539 U.S.

      at 337).    Thus, even if “the University has established that its goal of diversity is

      consistent with strict scrutiny, … there must still be a further judicial determination that

      the admissions process meets strict scrutiny in its implementation. The University must




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      prove that the means chosen by the University to attain diversity are narrowly tailored to

      that goal.” Id. at 2419-20.

             424.    “Narrow tailoring also requires that the reviewing court verify that it is

      ‘necessary’ for a university to use race to achieve the educational benefits of diversity.

      This involves a careful judicial inquiry into whether a university could achieve sufficient

      diversity without using racial classifications.” Id. at 2420 (internal citation omitted).

      Accordingly, strict scrutiny uniformly “require[s] a court to examine with care, and not

      defer to, a university’s ‘serious, good faith consideration of workable race-neutral

      alternatives.’” Id. (quoting Grutter, 539 U.S. at 339- 340).

             425.    “Consideration by the university is of course necessary, but it is not

      sufficient to satisfy strict scrutiny: The reviewing court must ultimately be satisfied that

      no workable race-neutral alternatives would produce the educational benefits of diversity.

      If a nonracial approach … could promote the substantial interest about as well and at

      tolerable administrative expense, then the university may not consider race.”            Id.

      (citations and quotations omitted).

             426.    As a consequence, “strict scrutiny imposes on the university the ultimate

      burden of demonstrating, before turning to racial classifications, that available, workable

      race-neutral alternatives do not suffice.” Id. (emphasis added).

      XII.   CLAIM FOR RELIEF

             427.    Harvard’s use of racial preferences in undergraduate admissions violates

      Title VI of the Civil Rights Act of 1964. Plaintiff should be granted relief on that claim

      for a host of reasons.    First, Harvard is intentionally discriminating against Asian-

      American applicants. Second, Harvard is engaging in racial balancing. Third, Harvard’s




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      use of racial preference is not narrowly tailored because Harvard is not pursuing the

      critical-mass interest found permissible in Grutter.       Fourth, Harvard’s use of racial

      preferences is not narrowly tailored because Harvard is not using this disfavored tool

      merely to fill the “few places” left in its incoming class contrary to the “Harvard College

      Admissions Program” submitted to the Supreme Court in Bakke. Fifth, Harvard is not

      fully utilizing a number of race-neutral alternatives that can achieve student body

      diversity.   Finally, whether or not Harvard is found to be acting permissibly under

      Supreme Court precedent, the Supreme Court should overrule any decision holding that

      the Fourteenth Amendment and therefore Title VI ever permits the use of racial

      preferences to achieve “diversity.”

                                               COUNT I

                               Violation of 42 U.S.C. § 2000d et seq.
                      (Intentional Discrimination Against Asian Americans)

              428.   Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-427 as if fully set forth herein.

              429.   Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

      undergraduate admissions policy that intentionally discriminates against Asian-American

      applicants on the basis of race or ethnicity.

              430.   Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for

      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the



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      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             431.    Title VI is privately enforceable.

             432.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             433.     An institution’s use of race or ethnicity that is in any way motivated by

      prejudice or stereotype against a particular group violates the Fourteenth Amendment and

      therefore violates Title VI.

             434.    Harvard     has   intentionally    discriminated   against   Asian-American

      applicants for admission on the basis of race or ethnicity based on prejudicial and

      stereotypical assumptions about their qualifications.

             435.    Harvard officials have made prejudicial and stereotypical statements about

      Asian-American applicants for admission. Among other things, Harvard officials have

      made racially stereotypical statements assuming that, as a group, Asian Americans all

      have same academic interests, experiences, and personal attributes and that Asian

      Americans, as a group, lack certain qualities that Harvard values.




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                436.   Harvard’s admissions system has a disproportionately negative effect on

      Asian-American applicants for admission that is not explainable on grounds other than

      intentional discrimination on the basis of race or ethnicity. As the statistical evidence

      demonstrates, Asian Americans are underrepresented at Harvard in relation to their share

      of the applicant pool and are massively underrepresented in relation to the share of the

      highly qualified portion of Harvard’s applicant pool. Asian Americans represent roughly

      46 percent of the highly qualified portion of Harvard’s applicant pool, yet they represent

      only about 17 percent of those admitted and/or enrolled at Harvard over a multi-year

      period.

                437.   Harvard has a long and unfortunate history of intentional discrimination

      on the basis of race or ethnicity, including a history of intentional discrimination against

      Asian Americans. The Harvard Plan itself is a product of admissions policies created to

      advance an invidious purpose. Harvard has a history of using the rubric of “holistic”

      admissions in general, and the Harvard Plan in particular, to limit the admission of Jewish

      applicants and other minority groups. Indeed, Harvard is using the same pretextual

      excuses to justify its disparate treatment of Asian Americans that it used to deny that it

      was discriminating against Jewish applicants in the past. In short, Harvard’s intentional

      discrimination against Asian-American applicants exhibits the same pattern as its

      previous discrimination against Jewish applicants.

                438.   Harvard’s departure from its normal procedures, including its abrupt

      decision to no longer make public the application figures grouped by racial category,

      demonstrates that steps were taken for the improper purpose of engaging in intentional

      discrimination on the basis of race or ethnicity.




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              439.   Harvard’s substantive decision to abandon or place considerably less

      reliance, when it comes to Asian Americans, on the academic factors it usually considers

      important for purposes of granting or denying admission demonstrates that Harvard is

      engaging in intentional discrimination on the basis of race or ethnicity.

              440.   Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

              441.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.

              442.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.

                                              COUNT II

                                Violation of 42 U.S.C. § 2000d et seq.
                                         (Racial Balancing)

              443.    Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-442 as if fully set forth herein.

              444.   Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an



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      undergraduate admissions policy that balances the class according to its racial or ethnic

      composition.

             445.    Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for

      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             446.    Title VI is privately enforceable.

             447.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             448.    A university that uses its admissions system to pursue quotas or

      proportional representation of racial or ethnic groups either in the entering class or in the

      overall student body violates the Fourteenth Amendment and therefore violates Title VI.




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             449.      The remarkable stability of Harvard’s admissions figures across racial and

      ethnic groups—especially in the overall student body—demonstrates that Harvard is

      seeking proportional representation and therefore is engaged in racial balancing.

             450.      There is no non-discriminatory reason that could justify admissions

      figures this stable across all racial groups over a period of several years given the unique

      characteristics of each applicant for admission. If Harvard were truly treating each

      applicant for admission as an individual, as it professes to do, “[o]ne would expect the

      percentage of specified minority enrollees produced by such a such a system to vacillate

      widely from year to year, reflecting changes in each year’s applicant pool.”           Alan

      Dershowitz and Laura Hanft, Affirmative Action and the Harvard College Diversity-

      Discretion Model: Paradigm or Pretext, 1 Cardozo L. Rev. 379, 382 n.13 (1979). That is

      not happening.

             451.      The pursuit of “critical mass” could never justify admissions figures this

      stable given the balancing that occurs between African-American and Hispanic

      applicants. But even if the pursuit of “critical mass” led to stable admissions figures for

      African Americans and Hispanics, which it did not, that would not provide a non-

      discriminatory explanation for why the white and Asian-American admissions and

      enrollment figures have been this stable over a multi-year period.

             452.      The stability of Harvard’s admission and enrollment figures across all

      racial groups notwithstanding the massive changes in the racial and ethnic makeup of

      Harvard’s admissions pool over time—especially the significant increase in highly

      qualified Asian-American applicants—confirms that Harvard is engaged in racial

      balancing.




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              453.   Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

              454.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.

              455.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.

                                              COUNT III

                             Violation of 42 U.S.C. § 2000d et seq.
           (Failure To Use Race Merely As A “Plus” Factor In Admissions Decisions)

              456.   Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-455 as if fully set forth herein.

              457.   Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

      undergraduate admissions policy that is not narrowly tailored because it does not use race

      merely as a “plus” factor in order to achieve student body diversity.

              458.   Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for



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      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             459.    Title VI is privately enforceable.

             460.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             461.    Harvard is not complying with the requirement of narrow tailoring

      because it is not using race merely as a “plus” factor in admissions decisions in order to

      achieve student body diversity.

             462.    The statistical evidence shows that each applicant for admission is not

      evaluated as an individual. Instead, race or ethnicity is the defining feature of the

      application. That is especially true for Asian-American applicants. Only using race or

      ethnicity as a dominant factor in admissions decisions could account for the remarkably

      low admission rate for high-achieving Asian-American applicants.




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              463.   Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

              464.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.

              465.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.

                                              COUNT IV

                                Violation of 42 U.S.C. § 2000d et seq.
                           (Failure To Use Race To Merely Fill The Last
                          “Few Places” In The Incoming Freshman Class)

              466.   Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-465 as if fully set forth herein.

              467.   Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

      undergraduate admissions policy that is not narrowly tailored because it does not merely

      use race as a factor in filling the last “few places” in the entering freshman class.

              468.   Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for


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      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             469.    Title VI is privately enforceable.

             470.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             471.    In its Bakke amicus brief, Harvard informed the Supreme Court that it was

      using race as a factor in admissions decisions only when it had “a few places left to fill”

      in the entering freshman class. But to the extent that Harvard ever used race in this way,

      given that the Harvard Plan itself was the product of racial and ethnic discrimination, it

      clearly is no longer using race in this fashion.

             472.    In its Fisher amicus brief, Harvard stated that it uses admissions “policies

      similar to the Harvard Plan that Justice Powell approved in [Bakke] and the University of

      Michigan Law School plan upheld in Grutter.” But an admissions policy similar in any

      fashion to the plan employed by the University of Michigan Law School by definition




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      uses race beyond filling the remaining few places. In such a plan, race is—to one degree

      or another—a factor for every applicant as it is ostensibly being used to pursue a “critical

      mass” of underrepresented minorities in the overall student body.

              473.   Moreover, the statistical evidence demonstrates that Harvard is not using

      race merely to fill the last few places in the entering freshman class. Rather, especially

      for Asian Americans, race or ethnicity is a factor in admissions decision far beyond those

      competing for the last few places. Only using race or ethnicity as a dominant factor in

      admissions decisions could account for the remarkably low admission rate for high-

      achieving Asian-American applicants.

              474.   Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

              475.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.

              476.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.




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                                               COUNT V

                                Violation of 42 U.S.C. § 2000d et seq.
                                    (Race-Neutral Alternatives)

             477.    Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-476 as if fully set forth herein.

             478.    Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing racial

      preferences in undergraduate admissions when there are available race-neutral

      alternatives capable of achieving student body diversity.

             479.    Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for

      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             480.    Title VI is privately enforceable.




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             481.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             482.    Harvard’s use of racial preferences is narrowly tailored only if using them

      is necessary to achieve student body diversity. If Harvard can achieve student body

      diversity without resorting to racial preferences, it is required to do so as a matter of law.

      Moreover, Harvard must have a strong basis in evidence that a non-racial approach will

      not work about as well as a race-based approach before turning to the use of racial

      preferences.

             483.    There is no evidence that Harvard studied all of the available race-neutral

      alternatives and had a strong basis in evidence that none would work about as well as a

      race-based approach before turning to racial preferences. Indeed, Harvard claims that it

      has been using racial preferences—to one degree or another—continuously for nearly a

      century.

             484.    Whether Harvard considered them all or not, there are a host of race-

      neutral alternatives that if implemented can achieve student body diversity without

      resorting to racial preferences.      Among these alternatives, both individually and

      collectively, are (a) increased use of non-racial preferences, (b) increased financial aid,

      scholarships, and recruitment efforts, and (c) elimination of admissions policies and

      practices that negatively affect minority applicants.

             485.    The use of race-neutral alternatives instead of racial preferences would not

      only achieve student body diversity, it would eliminate the heavy costs that using race as




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      a factor in admissions decisions imposes on minority applicants who receive such

      admissions preference, the Harvard community, and society as a whole.

              486.   Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

              487.   Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.

              488.   Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.

                                              COUNT VI

                               Violation of 42 U.S.C § 2000d et seq.
                           (Any Use of Race As A Factor In Admissions)

              489.   Plaintiff incorporates the allegations and averments contained in

      paragraphs 1-488 as if fully set forth herein.

              490.   Harvard, a recipient of federal funds, intentionally discriminated against

      certain of Plaintiff’s members on the basis of their race, color, or ethnicity in violation of

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., by employing an

      undergraduate admissions policy that uses race as a factor in admissions.




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             491.    Harvard has conceded that, because it uses a racial criterion in its

      admissions process and receives federal funds, it is subject to potential liability for

      violations of Title VI if it is found to have discriminated on the basis of race in its

      admissions process. See Harvard Grutter Amicus Brief at 2 (“Because Title VI of the

      Civil Rights Act of 1964 forbids institutions that receive federal funds from engaging in

      racial ‘discrimination,’ the ability of private colleges and universities to exercise their

      institutional competence could well be dramatically compromised by any new limits . . .

      on state university admissions criteria or procedures.”); Harvard Fisher Amicus Brief 3

      (stating that “Title VI of the Civil Rights Act of 1964 forbids institutions that receive

      federal funds from engaging in racial ‘discrimination,” and so Harvard’s “efforts to attain

      diverse student bodies could be compromised” if limits were placed on the university’s

      admissions procedures).

             492.    Title VI is privately enforceable.

             493.    Discrimination that violates the Equal Protection Clause of the Fourteenth

      Amendment of the United States Constitution constitutes a violation of Title VI when

      committed by an institution that accepts federal funds.

             494.    The Supreme Court’s decisions holding that there is a compelling

      government interest in using race as a factor in admissions decisions in pursuit of

      “diversity” should be overruled. Those decisions were wrongly decided at the time they

      were issued and they remain wrong today. “Diversity” is not an interest that could ever

      justify the use of racial preferences under the Fourteenth Amendment and Title VI.




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             495.    Even if there were a compelling government interest in “diversity” in the

      abstract, however, the use of racial preferences in the educational setting nevertheless

      should be forbidden for several important reasons.

             496.    The Supreme Court’s jurisprudence in this area has been built on mistakes

      of fact and law. The Supreme Court first accepted the use of racial preferences in

      admissions on the assumption that they would be used consistent with the Harvard Plan,

      which purported to use race merely as a contextual factor in filling the final few places in

      the entering class. But the Harvard Plan itself was created in order to hide racial and

      ethnic discrimination. Thus, it is far from certain that Harvard has ever used race in the

      way the Supreme Court envisioned.

             497.    “The raison d’être for race-specific affirmative action programs has

      simply never been diversity for the sake of education.” Alan Dershowitz and Laura

      Hanft, Affirmative Action and the Harvard College Diversity-Discretion Model:

      Paradigm or Pretext, 1 Cardozo L. Rev. 379, 407 (1979). It is instead “a clever post

      facto justification for increasing the number of minority group students in the student

      body.” Id.

             498.    In any event, neither Harvard nor any other college or university uses race

      in this manner now. Instead, colleges and universities, including Harvard, claim to use

      race in order to pursue a “critical mass” of underrepresented minorities in the student

      body. But Harvard, and many others, are not pursuing this interest. Even when this

      interest is actually being pursued, moreover, it is nothing more than racial balancing in

      that it necessarily seeks to ensure a proportional number of students of certain races or

      ethnicities in the entering class. Critical mass is a formula for ensuring “a specified




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      percentage of the student body is in effect guaranteed to be members of selected ethnic

      groups, with the remaining percentage an undifferentiated aggregation of students.”

      Bakke, 438 U.S. at 315 (Powell, J.).

             499.    Ultimately, there is overwhelming evidence that colleges and universities

      will take advantage of any leeway given by the Supreme Court to use the dangerous tool

      of racial preferences in inappropriate ways. The experience with Harvard confirms that,

      if given the chance, colleges and universities will use racial preferences “for the

      ostensible purpose of enhancing education diversity of the student body” with the true

      “goal of simply increasing the number of minority persons in the universities and in the

      professions that these universities feed.” Alan Dershowitz and Laura Hanft, Affirmative

      Action and the Harvard College Diversity-Discretion Model: Paradigm or Pretext, 1

      Cardozo L. Rev. 379, 385 (1979).

             500.    There simply is no practical way to ensure that colleges and universities

      will use race in their admissions processes in any way that would meet the narrow

      tailoring requirement. The strong medicine of strict scrutiny has proven insufficient to

      ensure that the Fourteenth Amendment and Title VI operate in conformity of racial

      neutrality except in those rare circumstances that justify the use of this disfavored

      remedy. Time after time, district courts and the courts of appeals have been either

      unwilling or unable to force these colleges and universities to provide a strong

      evidentiary basis for their conclusion that use of racial preferences is necessary to

      achieve diversity.   Nor have they been willing to engage in the close review of

      admissions programs to ensure that schools are treating each applicant as an individual.




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             501.    There also have been important factual developments since this question

      was last considered by the Supreme Court. There is now much evidence that race-neutral

      alternatives can achieve the benefits of diversity. This is crucially important in light of

      the equally compelling evidence that racial preferences impose significant costs on the

      university community, society in general, and the very minority students these programs

      are purported to benefit.

             502.    In the end, the costs of allowing the use of racial preferences in admissions

      decisions—even in a limited way—far exceed any rapidly diminishing benefits. No

      principle of stare decisis counsels in favor of retaining decisions allowing their use.

      Those decisions were not well reasoned, were predicated on mistakes of fact, have been

      undermined by more recent developments, and have proven to be unworkable. Any

      decision allowing the use of racial preferences in the educational setting should be

      overruled.

             503.    Plaintiff’s members have been and will continue to be injured because

      Harvard has and will continue to deny them the opportunity to compete for admission to

      Harvard on equal footing with other applicants on the basis of race or ethnicity due to its

      intentionally discriminatory admissions policies and procedures.

             504.    Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §

      2201, and a permanent injunction because there is no plain, adequate, or speedy remedy

      at law to prevent Harvard from continuing to use admissions policies and procedures that

      discriminate on the basis of race or ethnicity in violation of Title VI of the Civil Rights

      Act of 1964 and because the harm Plaintiff’s members will otherwise continue to suffer is

      irreparable.




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              505.    Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C. §

      1988.



              WHEREFORE, Plaintiff, Students for Fair Admissions, Inc., prays for the

      following relief as to all counts:

              (a)     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28

      U.S.C. § 2201, from the Court that Harvard’s admissions policies and procedures violate

      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.;

              (b)     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28

      U.S.C. § 2201, from the Court that any use of race or ethnicity in the educational setting

      violates the Fourteenth Amendment and Title VI of the Civil Rights Act of 1964, 42

      U.S.C. § 2000d et seq.;

              (c)     A permanent injunction prohibiting Harvard from using race as a factor in

      future undergraduate admissions decisions;

              (d)     A permanent injunction requiring Harvard to conduct all admissions in a

      manner that does not permit those engaged in the decisional process to be aware of or

      learn the race or ethnicity of any applicant for admission;

              (e)     Attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and any other

      applicable legal authority; and

              (f)     All other relief this Court finds appropriate and just.

                                      DEMAND FOR JURY TRIAL

              Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a

      trial by jury in this action of all triable issues.




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